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                  Exhibit B
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


STEVEN E. GREER, MD                           )
                                              )
                                              )           CIVIL ACTION NO.
                                              )
               Plaintiff;                     )         15-CV-6119 (AJN)(JLC)
                                              )
       v.                                     )
                                              )
                                              )    PLAINTIFF’S SECOND RESPONSES
Dennis Mehiel, an individual Robert Serpico, )
                                                   and OBJECTIONS to DEFENDANTS’
an individual, The Battery Park City          )     FIRST REQUEST for DOCUMENTS
Authority, a New York State authority,        )
Howard Milstein, an individual, Steven Rossi, )
an individual, Janet Martin, an individual,   )
                                              )
Milford Management, a New York                )
corporation, and Mariners Cove Site B         )
Associates, a New York corporation.           )
                                              )
               Defendants.
                                              )
                                              )
                                               )




                                                      Steven Greer, pro se
                                                      4674 Tatersall Court
                                                      Columbus, Ohio 43230
                                                      (212) 945-7252
                                                      steve@batterypark.tv




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              PLAINTIFF’S RESPONSES AND OBJECTIONS TO
              DEFENDANTS’ FIRST REQUEST for DOCUMENTS


TO: Defendants Robert Serpico and The Battery Park City Authority, by and through their

attorney of record, Michael Tremonte of Sher Tremonte LLP, located at 80 Broad Street, 13th

Floor, New York, NY 10004.

       Plaintiff Steven Greer (“Plaintiff”) serves these second set of Objections and Responses

to Defendants’ First Set of Requests for Production under Federal Rule of Civil Procedure 34.



                                GENERAL OBJECTIONS

       Plaintiff objects to each Request: (1) insofar as it calls for the production of documents

not in Plaintiff’s possession, custody, or control; (2) insofar as it calls for the production of

documents that were prepared for or in anticipation of litigation, constitute attorney work

product, contain attorney-client communications, or are otherwise privileged; (3) insofar as it

calls for the production of documents which are publicly available or otherwise equally available

and/or uniquely available or equally available from third parties; (4) insofar as it calls for the

production of documents that do not specifically refer to the events which are the subject matter

of this litigation; and (5) insofar as it calls for the production of documents which are neither

relevant to the subject matter of this litigation nor reasonably calculated to lead to the discovery

of admissible evidence.

       The inadvertent production or disclosure of any privileged documents or information

shall not constitute or be deemed to be a waiver of any applicable privilege with respect to such

document or information (or the contents or subject matter thereof) or with respect to any other

such document or discovery now or hereafter requested or provided. Plaintiff reserves the right




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not to produce documents that are in part protected by privilege, except on a redacted basis, and

to require the return of any document (and all copies thereof) inadvertently produced. Plaintiff

likewise does not waive the right to object, on any and all grounds, to (1) the evidentiary use of

documents produced in response to these requests; and (2) discovery requests relating to those

documents.

       Plaintiff submits these responses and objections without conceding the relevancy or

materiality of the subject matter of any request or of any document, or that any responsive

materials exist.

       Plaintiff’s responses and objections are not intended to be, and shall not be construed as,

agreement with Plaintiff’s characterization of any facts, circumstances, or legal obligations.

Plaintiff reserves the right to contest any such characterization as inaccurate. Plaintiff also

objects to the Requests to the extent they contain any express or implied assumptions of fact or

law concerning matters at issue in this litigation.

       The responses and objections contained herein are made on the basis of information now

known to Plaintiff and are made without waiving any further objections to or admitting the

relevancy or materiality of any of the information requested. Plaintiff’s investigation, discovery

and preparation for proceedings are continuing and all answers are given without prejudice to

Plaintiff’s right to introduce or object to the discovery of any documents, facts or information

discovered after the date hereof.

       Plaintiff will provide its responses based on terms as they are commonly understood, and

consistent with the Federal Rules of Civil Procedure. Plaintiff objects to and will refrain from

extending or modifying any words employed in the requests to comport with expanded

definitions or instructions.




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   OBJECTIONS AND RESPONSES TO REQUEST FOR PRODUCTION


REQUEST No. 1:
All documents concerning any of the individuals listed on page 3 of Plaintiff's Initial Disclosures
pursuant to FRCP 26(a), dated November 1, 2016 (the "Plaintiff's Initial Disclosures").

       RESPONSE:
       Plaintiff objects to Request for Production No. 1 on the grounds that it is overly broad
       and unduly burdensome because, among other reasons, it begins with the words, “All
       documents….”. In Judge Cott’s order from January 18th, 2017 (Dkt. No. 228), he wrote:

               “The Court observes preliminarily that all of Greer’s document requests
               begin with the phrase “[a]ll documents, communications, and
               correspondence which support, evidence, relate or otherwise pertain to . . .
               .” “Blanket requests of this kind are plainly overbroad and impermissible.”
               Henry v. Morgan’s Hotel Grp., Inc., No. 15-CV-1789 (ER) (JLC), 2016
               WL 303114, at *2 (S.D.N.Y. Jan. 25, 2016); see, e.g., Gropper v. David
               Ellis Real Estate, L.P., No. 13-CV-2068 (ALC) (JCF), 2014 WL 518234,
               at *4 (S.D.N.Y. Feb. 10, 2014) (finding that a “request for ‘any and all’
               documents . . . is inherently overbroad”); Rice v. Reliastar Life Ins. Co.,
               No. 11-CV-44 (BAJ) (CN), 2011 WL 5513181, at *2 (M.D. La. Nov. 10,
               2011) (finding that “a request for ‘any and all documents’ relating to a
               particular subject is overbroad and amounts to little more than a fishing
               expedition”); Badr v. Liberty Mutual Grp., Inc., No. 06-CV-1208, 2007
               WL 2904210, at *3 (D. Conn. Sept. 28, 2007) (finding request for “any
               and all” documents “overly broad”)…

               All Defendants are reminded that, because Greer is proceeding pro se and
               is not an attorney, they should be both reasonable and pragmatic in their
               pursuit of documents in this case.”

REQUEST No. 2:
All documents, including but not limited to notes, concerning any and all of Plaintiff's
communications with BPCA or any current or former BPCA board members, officers or
personnel.

       RESPONSE:
       Plaintiff objects to Request for Production No. 2 on the grounds that it is overly broad
       and unduly burdensome because, among other reasons, it begins with the words, “All
       documents….”. In Judge Cott’s order from January 18th, 2017 (Dkt. No. 228), he wrote:




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             “The Court observes preliminarily that all of Greer’s document requests
             begin with the phrase “[a]ll documents, communications, and
             correspondence which support, evidence, relate or otherwise pertain to . . .
             .” “Blanket requests of this kind are plainly overbroad and impermissible.”
             Henry v. Morgan’s Hotel Grp., Inc., No. 15-CV-1789 (ER) (JLC), 2016
             WL 303114, at *2 (S.D.N.Y. Jan. 25, 2016); see, e.g., Gropper v. David
             Ellis Real Estate, L.P., No. 13-CV-2068 (ALC) (JCF), 2014 WL 518234,
             at *4 (S.D.N.Y. Feb. 10, 2014) (finding that a “request for ‘any and all’
             documents . . . is inherently overbroad”); Rice v. Reliastar Life Ins. Co.,
             No. 11-CV-44 (BAJ) (CN), 2011 WL 5513181, at *2 (M.D. La. Nov. 10,
             2011) (finding that “a request for ‘any and all documents’ relating to a
             particular subject is overbroad and amounts to little more than a fishing
             expedition”); Badr v. Liberty Mutual Grp., Inc., No. 06-CV-1208, 2007
             WL 2904210, at *3 (D. Conn. Sept. 28, 2007) (finding request for “any
             and all” documents “overly broad”)…

             All Defendants are reminded that, because Greer is proceeding pro se and
             is not an attorney, they should be both reasonable and pragmatic in their
             pursuit of documents in this case.”


REQUEST No. 3:
All correspondence or other documents reflecting communications between Plaintiff and Kirk
Swanson.

      RESPONSE:

      Plaintiff objects to Request for Production No. 3 on the grounds that it is overly broad
      and unduly burdensome, among other reasons, because it begins with the words, “All
      documents….”. In Judge Cott’s order from January 18th, 2017 (Dkt. No. 228), he wrote:

      “The Court observes preliminarily that all of Greer’s document requests begin
      with the phrase “[a]ll documents, communications, and correspondence which
      support, evidence, relate or otherwise pertain to . . . .” “Blanket requests of this
      kind are plainly overbroad and impermissible.” Henry v. Morgan’s Hotel Grp.,
      Inc., No. 15-CV-1789 (ER) (JLC), 2016 WL 303114, at *2 (S.D.N.Y. Jan. 25,
      2016); see, e.g., Gropper v. David Ellis Real Estate, L.P., No. 13-CV-2068 (ALC)
      (JCF), 2014 WL 518234, at *4 (S.D.N.Y. Feb. 10, 2014) (finding that a “request
      for ‘any and all’ documents . . . is inherently overbroad”); Rice v. Reliastar Life
      Ins. Co., No. 11-CV-44 (BAJ) (CN), 2011 WL 5513181, at *2 (M.D. La. Nov. 10,
      2011) (finding that “a request for ‘any and all documents’ relating to a particular
      subject is overbroad and amounts to little more than a fishing expedition”); Badr
      v. Liberty Mutual Grp., Inc., No. 06-CV-1208, 2007 WL 2904210, at *3 (D.




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       Conn. Sept. 28, 2007) (finding request for “any and all” documents “overly
       broad”)…

       All Defendants are reminded that, because Greer is proceeding pro se and is not
       an attorney, they should be both reasonable and pragmatic in their pursuit of
       documents in this case.”

       In addition, no producible documents relating to Mr. Swanson exist. Non-recorded phone
       conversations have been the source of information used by Plaintiff as evidence in the
       complaints.

       Moreover, Plaintiff is a journalist and information of news sources is privileged
       and protected. In the Reporters Committee for the Freedom of the press
       (http://www.rcfp.org/rcfp/orders/docs/privilege/02.pdf):

       “First Amendment protection. The U.S. Supreme Court last considered a
       constitutionally based reporter's privilege in 1972 in Branzburg v. Hayes, 408
       U.S. 665 (1972). Justice Byron White, joined by three other justices, wrote the
       opinion for the Court, holding that the First Amendment does not protect a
       journalist who has actually witnessed criminal activity from revealing his or her
       information to a grand jury. However a concurring opinion by Justice Lewis
       Powell and a dissenting opinion by Justice Potter Stewart recognized a qualified
       privilege for reporters.

       State constitutions, common law and court rules. Many states have recognized a
       reporter's privilege based on state law. For example, New York's highest court recognized
       a qualified reporter's privilege under its own state constitution, protecting both
       confidential and non-confidential materials. (O'Neill v. Oakgrove Construction Inc., 71
       N.Y.S.2d 521 (1988)).”

REQUEST No. 4:
All correspondence or other documents reflecting communications between Plaintiff and Vince
McGowan.

       RESPONSE:

       Plaintiff objects to Request for Production No. 4 on the grounds that it is overly broad
       and unduly burdensome because, among other reasons, it begins with the words, “All
       documents….”. In Judge Cott’s order from January 18th, 2017 (Dkt. No. 228), he wrote:

       “The Court observes preliminarily that all of Greer’s document requests begin
       with the phrase “[a]ll documents, communications, and correspondence which
       support, evidence, relate or otherwise pertain to . . . .” “Blanket requests of this
       kind are plainly overbroad and impermissible.” Henry v. Morgan’s Hotel Grp.,
       Inc., No. 15-CV-1789 (ER) (JLC), 2016 WL 303114, at *2 (S.D.N.Y. Jan. 25,



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      2016); see, e.g., Gropper v. David Ellis Real Estate, L.P., No. 13-CV-2068 (ALC)
      (JCF), 2014 WL 518234, at *4 (S.D.N.Y. Feb. 10, 2014) (finding that a “request
      for ‘any and all’ documents . . . is inherently overbroad”); Rice v. Reliastar Life
      Ins. Co., No. 11-CV-44 (BAJ) (CN), 2011 WL 5513181, at *2 (M.D. La. Nov. 10,
      2011) (finding that “a request for ‘any and all documents’ relating to a particular
      subject is overbroad and amounts to little more than a fishing expedition”); Badr
      v. Liberty Mutual Grp., Inc., No. 06-CV-1208, 2007 WL 2904210, at *3 (D.
      Conn. Sept. 28, 2007) (finding request for “any and all” documents “overly
      broad”)…

      All Defendants are reminded that, because Greer is proceeding pro se and is not
      an attorney, they should be both reasonable and pragmatic in their pursuit of
      documents in this case.”

      In addition, the only relevant producible document relating to Mr. McGowan was
      the January 12, 2014 email, that has been already disclosed in the complaints, in
      which Mr. McGowan tipped off Plaintiff that he knew of Plaintiff’s apartment
      lease not being renewed even before Plaintiff knew, “It is good to see that you
      appreciate what we have on the West Side, Hope you can stay." A subsequent
      voice phone call, not recorded, in which Mr. McGowan clarified what he meant in
      the email, is not producible documentation.

      Moreover, Plaintiff is a journalist and information of news sources is privileged
      and protected. In the Reporters Committee for the Freedom of the press
      (http://www.rcfp.org/rcfp/orders/docs/privilege/02.pdf):

      “First Amendment protection. The U.S. Supreme Court last considered a
      constitutionally based reporter's privilege in 1972 in Branzburg v. Hayes, 408
      U.S. 665 (1972). Justice Byron White, joined by three other justices, wrote the
      opinion for the Court, holding that the First Amendment does not protect a
      journalist who has actually witnessed criminal activity from revealing his or her
      information to a grand jury. However a concurring opinion by Justice Lewis
      Powell and a dissenting opinion by Justice Potter Stewart recognized a qualified
      privilege for reporters.

      State constitutions, common law and court rules. Many states have recognized a
      reporter's privilege based on state law. For example, New York's highest court
      recognized a qualified reporter's privilege under its own state constitution,
      protecting both confidential and non-confidential materials. (O'Neill v. Oakgrove
      Construction Inc., 71 N.Y.S.2d 521 (1988)).”


REQUEST No. 5:

All correspondence or other documents reflecting communications between Plaintiff and the
"BPCA insider" referenced at ¶63 of the Corrected Amended Complaint.




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  RESPONSE:

  Plaintiff objects to Request for Production No. 5 on the grounds that it is overly broad
  and unduly burdensome because, among other reasons, it begins with the words, “All
  documents….”. In Judge Cott’s order from January 18th, 2017 (Dkt. No. 228), he wrote:

  “The Court observes preliminarily that all of Greer’s document requests begin
  with the phrase “[a]ll documents, communications, and correspondence which
  support, evidence, relate or otherwise pertain to . . . .” “Blanket requests of this
  kind are plainly overbroad and impermissible.” Henry v. Morgan’s Hotel Grp.,
  Inc., No. 15-CV-1789 (ER) (JLC), 2016 WL 303114, at *2 (S.D.N.Y. Jan. 25,
  2016); see, e.g., Gropper v. David Ellis Real Estate, L.P., No. 13-CV-2068 (ALC)
  (JCF), 2014 WL 518234, at *4 (S.D.N.Y. Feb. 10, 2014) (finding that a “request
  for ‘any and all’ documents . . . is inherently overbroad”); Rice v. Reliastar Life
  Ins. Co., No. 11-CV-44 (BAJ) (CN), 2011 WL 5513181, at *2 (M.D. La. Nov. 10,
  2011) (finding that “a request for ‘any and all documents’ relating to a particular
  subject is overbroad and amounts to little more than a fishing expedition”); Badr
  v. Liberty Mutual Grp., Inc., No. 06-CV-1208, 2007 WL 2904210, at *3 (D.
  Conn. Sept. 28, 2007) (finding request for “any and all” documents “overly
  broad”)…

  All Defendants are reminded that, because Greer is proceeding pro se and is not
  an attorney, they should be both reasonable and pragmatic in their pursuit of
  documents in this case.”

  Moreover, Plaintiff is a journalist and information of news sources is privileged
  and protected. In the Reporters Committee for the Freedom of the press
  (http://www.rcfp.org/rcfp/orders/docs/privilege/02.pdf):

  “First Amendment protection. The U.S. Supreme Court last considered a
  constitutionally based reporter's privilege in 1972 in Branzburg v. Hayes, 408
  U.S. 665 (1972). Justice Byron White, joined by three other justices, wrote the
  opinion for the Court, holding that the First Amendment does not protect a
  journalist who has actually witnessed criminal activity from revealing his or her
  information to a grand jury. However a concurring opinion by Justice Lewis
  Powell and a dissenting opinion by Justice Potter Stewart recognized a qualified
  privilege for reporters.

  State constitutions, common law and court rules. Many states have recognized a
  reporter's privilege based on state law. For example, New York's highest court
  recognized a qualified reporter's privilege under its own state constitution,
  protecting both confidential and non-confidential materials. (O'Neill v. Oakgrove
  Construction Inc., 71 N.Y.S.2d 521 (1988)).”




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REQUEST No. 6:

All audio recordings of communications between Plaintiff and any current or former BPCA
board members, officers or personnel. Any such audio recordings must be produced in their raw
and unedited form, as well as in any edited form.

       RESPONSE:

       Plaintiff objects to Request for Production No. 6 on the grounds that it is overly broad
       and unduly burdensome because it begins with the words, “All documents….”. In Judge
       Cott’s order from January 18th, 2017 (Dkt. No. 228), he wrote:

       “The Court observes preliminarily that all of Greer’s document requests begin
       with the phrase “[a]ll documents, communications, and correspondence which
       support, evidence, relate or otherwise pertain to . . . .” “Blanket requests of this
       kind are plainly overbroad and impermissible.” Henry v. Morgan’s Hotel Grp.,
       Inc., No. 15-CV-1789 (ER) (JLC), 2016 WL 303114, at *2 (S.D.N.Y. Jan. 25,
       2016); see, e.g., Gropper v. David Ellis Real Estate, L.P., No. 13-CV-2068 (ALC)
       (JCF), 2014 WL 518234, at *4 (S.D.N.Y. Feb. 10, 2014) (finding that a “request
       for ‘any and all’ documents . . . is inherently overbroad”); Rice v. Reliastar Life
       Ins. Co., No. 11-CV-44 (BAJ) (CN), 2011 WL 5513181, at *2 (M.D. La. Nov. 10,
       2011) (finding that “a request for ‘any and all documents’ relating to a particular
       subject is overbroad and amounts to little more than a fishing expedition”); Badr
       v. Liberty Mutual Grp., Inc., No. 06-CV-1208, 2007 WL 2904210, at *3 (D.
       Conn. Sept. 28, 2007) (finding request for “any and all” documents “overly
       broad”)…

       All Defendants are reminded that, because Greer is proceeding pro se and is not
       an attorney, they should be both reasonable and pragmatic in their pursuit of
       documents in this case.”

       Moreover, Plaintiff is a journalist and information of news sources is privileged
       and protected. In the Reporters Committee for the Freedom of the press
       (http://www.rcfp.org/rcfp/orders/docs/privilege/02.pdf):

       “First Amendment protection. The U.S. Supreme Court last considered a
       constitutionally based reporter's privilege in 1972 in Branzburg v. Hayes, 408
       U.S. 665 (1972). Justice Byron White, joined by three other justices, wrote the
       opinion for the Court, holding that the First Amendment does not protect a
       journalist who has actually witnessed criminal activity from revealing his or her
       information to a grand jury. However a concurring opinion by Justice Lewis
       Powell and a dissenting opinion by Justice Potter Stewart recognized a qualified
       privilege for reporters.

       State constitutions, common law and court rules. Many states have recognized a
       reporter's privilege based on state law. For example, New York's highest court recognized




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       a qualified reporter's privilege under its own state constitution, protecting both
       confidential and non-confidential materials. (O'Neill v. Oakgrove Construction Inc., 71
       N.Y.S.2d 521 (1988)).”

REQUEST No. 7:

All video recordings of communications between Plaintiff and any current or former BPCA
board members, officers or personnel. Any such video recordings must be produced in their raw
and unedited form, as well as in any edited form.

       RESPONSE:

       Plaintiff objects to Request for Production No. 7 on the grounds that it is overly broad
       and unduly burdensome, among other reasons, because it begins with the words, “All
       documents….”. In Judge Cott’s order from January 18th, 2017 (Dkt. No. 228), he wrote:

       “The Court observes preliminarily that all of Greer’s document requests begin
       with the phrase “[a]ll documents, communications, and correspondence which
       support, evidence, relate or otherwise pertain to . . . .” “Blanket requests of this
       kind are plainly overbroad and impermissible.” Henry v. Morgan’s Hotel Grp.,
       Inc., No. 15-CV-1789 (ER) (JLC), 2016 WL 303114, at *2 (S.D.N.Y. Jan. 25,
       2016); see, e.g., Gropper v. David Ellis Real Estate, L.P., No. 13-CV-2068 (ALC)
       (JCF), 2014 WL 518234, at *4 (S.D.N.Y. Feb. 10, 2014) (finding that a “request
       for ‘any and all’ documents . . . is inherently overbroad”); Rice v. Reliastar Life
       Ins. Co., No. 11-CV-44 (BAJ) (CN), 2011 WL 5513181, at *2 (M.D. La. Nov. 10,
       2011) (finding that “a request for ‘any and all documents’ relating to a particular
       subject is overbroad and amounts to little more than a fishing expedition”); Badr
       v. Liberty Mutual Grp., Inc., No. 06-CV-1208, 2007 WL 2904210, at *3 (D.
       Conn. Sept. 28, 2007) (finding request for “any and all” documents “overly
       broad”)…

       All Defendants are reminded that, because Greer is proceeding pro se and is not
       an attorney, they should be both reasonable and pragmatic in their pursuit of
       documents in this case.”

       Any video relevant to this request can be found on the YouTube channel located at:
       https://www.youtube.com/user/Batteryparktv

       The electronic files can be downloaded using numerous browser applications that allow
       for the MP4 files to be downloaded. Defendants can choose which ones they believe are
       relevant to their request.

       Plaintiff also objects to Request for Production No. 7 in that it is not reasonably
       calculated to lead to the discovery of admissible evidence. Any relevant video Plaintiff
       possesses of BPCA defendants is specially detailed in the responses that follow.




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REQUEST No. 8:

All audio recordings created by Plaintiff or others at BPCA's offices. Any such audio recordings
must be produced in their raw and unedited form, as well as in any edited form.

       RESPONSE:

       Plaintiff objects to Request for Production No. 8 on the grounds that it is overly broad
       and unduly burdensome, among other reasons, because it begins with the words, “All
       documents….”. In Judge Cott’s order from January 18th, 2017 (Dkt. No. 228), he wrote:

       “The Court observes preliminarily that all of Greer’s document requests begin
       with the phrase “[a]ll documents, communications, and correspondence which
       support, evidence, relate or otherwise pertain to . . . .” “Blanket requests of this
       kind are plainly overbroad and impermissible.” Henry v. Morgan’s Hotel Grp.,
       Inc., No. 15-CV-1789 (ER) (JLC), 2016 WL 303114, at *2 (S.D.N.Y. Jan. 25,
       2016); see, e.g., Gropper v. David Ellis Real Estate, L.P., No. 13-CV-2068 (ALC)
       (JCF), 2014 WL 518234, at *4 (S.D.N.Y. Feb. 10, 2014) (finding that a “request
       for ‘any and all’ documents . . . is inherently overbroad”); Rice v. Reliastar Life
       Ins. Co., No. 11-CV-44 (BAJ) (CN), 2011 WL 5513181, at *2 (M.D. La. Nov. 10,
       2011) (finding that “a request for ‘any and all documents’ relating to a particular
       subject is overbroad and amounts to little more than a fishing expedition”); Badr
       v. Liberty Mutual Grp., Inc., No. 06-CV-1208, 2007 WL 2904210, at *3 (D.
       Conn. Sept. 28, 2007) (finding request for “any and all” documents “overly
       broad”)…

       All Defendants are reminded that, because Greer is proceeding pro se and is not
       an attorney, they should be both reasonable and pragmatic in their pursuit of
       documents in this case.”

       Any video relevant to this request can be found on YouTube at:
       https://www.youtube.com/user/Batteryparktv

       The electronic files can be downloaded using numerous browser applications that allow
       for the MP4 files to be downloaded. Defendants can choose which ones they believe are
       relevant to their request.

       Plaintiff also objects to Request for Production No. 8 in that it is not reasonably
       calculated to lead to the discovery of admissible evidence. Any relevant video Plaintiff
       possesses of BPCA defendants is detailed in the responses that follow.


REQUEST No. 9:

All video recordings created by Plaintiff or others at BPCA's offices. Any such video recordings
must be produced in their raw and unedited form, as well as in any edited form.




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  RESPONSE:

  Plaintiff objects to Request for Production No. 9 on the grounds that it is overly broad
  and unduly burdensome, among other reasons, because it begins with the words, “All
  documents….”. In Judge Cott’s order from January 18th, 2017 (Dkt. No. 228), he wrote:

  “The Court observes preliminarily that all of Greer’s document requests begin
  with the phrase “[a]ll documents, communications, and correspondence which
  support, evidence, relate or otherwise pertain to . . . .” “Blanket requests of this
  kind are plainly overbroad and impermissible.” Henry v. Morgan’s Hotel Grp.,
  Inc., No. 15-CV-1789 (ER) (JLC), 2016 WL 303114, at *2 (S.D.N.Y. Jan. 25,
  2016); see, e.g., Gropper v. David Ellis Real Estate, L.P., No. 13-CV-2068 (ALC)
  (JCF), 2014 WL 518234, at *4 (S.D.N.Y. Feb. 10, 2014) (finding that a “request
  for ‘any and all’ documents . . . is inherently overbroad”); Rice v. Reliastar Life
  Ins. Co., No. 11-CV-44 (BAJ) (CN), 2011 WL 5513181, at *2 (M.D. La. Nov. 10,
  2011) (finding that “a request for ‘any and all documents’ relating to a particular
  subject is overbroad and amounts to little more than a fishing expedition”); Badr
  v. Liberty Mutual Grp., Inc., No. 06-CV-1208, 2007 WL 2904210, at *3 (D.
  Conn. Sept. 28, 2007) (finding request for “any and all” documents “overly
  broad”)…

  All Defendants are reminded that, because Greer is proceeding pro se and is not
  an attorney, they should be both reasonable and pragmatic in their pursuit of
  documents in this case.”

  Any video relevant to this request can be found on the YouTube channel located at:
  https://www.youtube.com/user/Batteryparktv

  The electronic files can be downloaded using numerous browser applications that allow
  for the MP4 files to be downloaded. Defendants can choose which ones they believe are
  relevant to their request.

  Plaintiff also objects to Request for Production No. 9 in that it is not reasonably
  calculated to lead to the discovery of admissible evidence. Any relevant video Plaintiff
  possesses of BPCA defendants is detailed in the responses that follow.




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REQUEST No. 10:

All images created or captured by Plaintiff at BPCA's offices. Any such image must be produced
in its raw and unedited form, as well as in any edited form.

       RESPONSE:

       Plaintiff objects to Request for Production No. 10 on the grounds that it is overly broad
       and unduly burdensome because it begins with the words, “All documents….”. In Judge
       Cott’s order from January 18th, 2017 (Dkt. No. 228), he wrote:

       “The Court observes preliminarily that all of Greer’s document requests begin
       with the phrase “[a]ll documents, communications, and correspondence which
       support, evidence, relate or otherwise pertain to . . . .” “Blanket requests of this
       kind are plainly overbroad and impermissible.” Henry v. Morgan’s Hotel Grp.,
       Inc., No. 15-CV-1789 (ER) (JLC), 2016 WL 303114, at *2 (S.D.N.Y. Jan. 25,
       2016); see, e.g., Gropper v. David Ellis Real Estate, L.P., No. 13-CV-2068 (ALC)
       (JCF), 2014 WL 518234, at *4 (S.D.N.Y. Feb. 10, 2014) (finding that a “request
       for ‘any and all’ documents . . . is inherently overbroad”); Rice v. Reliastar Life
       Ins. Co., No. 11-CV-44 (BAJ) (CN), 2011 WL 5513181, at *2 (M.D. La. Nov. 10,
       2011) (finding that “a request for ‘any and all documents’ relating to a particular
       subject is overbroad and amounts to little more than a fishing expedition”); Badr
       v. Liberty Mutual Grp., Inc., No. 06-CV-1208, 2007 WL 2904210, at *3 (D.
       Conn. Sept. 28, 2007) (finding request for “any and all” documents “overly
       broad”)…

       All Defendants are reminded that, because Greer is proceeding pro se and is not
       an attorney, they should be both reasonable and pragmatic in their pursuit of
       documents in this case.”


       Plaintiff also objects to Request for Production No. 10 in that it is not reasonably
       calculated to lead to the discovery of admissible evidence. Any relevant image Plaintiff
       possesses of BPCA defendants is detailed in the responses that follow.




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REQUEST No. 11:

All images, video recordings or audio recordings created or captured by Plaintiff during or
concerning the July 29, 2015 BPCA board meeting, including but not limited to Plaintiff's
attempt to enter the board meeting and/or Plaintiffs attendance at 21 South End Avenue. Any
such images or video or audio recordings must be produced in their raw and unedited form, as
well as in any edited form.

       RESPONSE:

       Plaintiff has the right to object to Request for Production No. 11 on the grounds that it is
       overly broad and unduly burdensome because it begins with the words, “All
       documents….”. In Judge Cott’s order from January 18th, 2017 (Dkt. No. 228), he wrote:

              “The Court observes preliminarily that all of Greer’s document requests
              begin with the phrase “[a]ll documents, communications, and
              correspondence which support, evidence, relate or otherwise pertain to . . .
              .” “Blanket requests of this kind are plainly overbroad and impermissible.”
              Henry v. Morgan’s Hotel Grp., Inc., No. 15-CV-1789 (ER) (JLC), 2016
              WL 303114, at *2 (S.D.N.Y. Jan. 25, 2016); see, e.g., Gropper v. David
              Ellis Real Estate, L.P., No. 13-CV-2068 (ALC) (JCF), 2014 WL 518234,
              at *4 (S.D.N.Y. Feb. 10, 2014) (finding that a “request for ‘any and all’
              documents . . . is inherently overbroad”); Rice v. Reliastar Life Ins. Co.,
              No. 11-CV-44 (BAJ) (CN), 2011 WL 5513181, at *2 (M.D. La. Nov. 10,
              2011) (finding that “a request for ‘any and all documents’ relating to a
              particular subject is overbroad and amounts to little more than a fishing
              expedition”); Badr v. Liberty Mutual Grp., Inc., No. 06-CV-1208, 2007
              WL 2904210, at *3 (D. Conn. Sept. 28, 2007) (finding request for “any
              and all” documents “overly broad”)…

              All Defendants are reminded that, because Greer is proceeding pro se and
              is not an attorney, they should be both reasonable and pragmatic in their
              pursuit of documents in this case.”


       However, the video files have been retained by Plaintiff and will be delivered to the
       BPCA when they ship to us the computer memory device that can hold 5 GB.

REQUEST No. 12:

All video or audio recordings or image files concerning the defendants Howard Milstein, Steven
Rossi, Janet Martin, Milford Management and/or Mariners Cove Site B Associates (the "Real
Estate Defendants"), or Plaintiff's communications or other interactions with the Real Estate
Defendants.




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       RESPONSE:

       Plaintiff objects to Request for Production No. 12 on the grounds that it is overly broad
       and unduly burdensome because it begins with the words, “All documents….”. In Judge
       Cott’s order from January 18th, 2017 (Dkt. No. 228), he wrote:

       “The Court observes preliminarily that all of Greer’s document requests begin
       with the phrase “[a]ll documents, communications, and correspondence which
       support, evidence, relate or otherwise pertain to . . . .” “Blanket requests of this
       kind are plainly overbroad and impermissible.” Henry v. Morgan’s Hotel Grp.,
       Inc., No. 15-CV-1789 (ER) (JLC), 2016 WL 303114, at *2 (S.D.N.Y. Jan. 25,
       2016); see, e.g., Gropper v. David Ellis Real Estate, L.P., No. 13-CV-2068 (ALC)
       (JCF), 2014 WL 518234, at *4 (S.D.N.Y. Feb. 10, 2014) (finding that a “request
       for ‘any and all’ documents . . . is inherently overbroad”); Rice v. Reliastar Life
       Ins. Co., No. 11-CV-44 (BAJ) (CN), 2011 WL 5513181, at *2 (M.D. La. Nov. 10,
       2011) (finding that “a request for ‘any and all documents’ relating to a particular
       subject is overbroad and amounts to little more than a fishing expedition”); Badr
       v. Liberty Mutual Grp., Inc., No. 06-CV-1208, 2007 WL 2904210, at *3 (D.
       Conn. Sept. 28, 2007) (finding request for “any and all” documents “overly
       broad”)…

       All Defendants are reminded that, because Greer is proceeding pro se and is not
       an attorney, they should be both reasonable and pragmatic in their pursuit of
       documents in this case.”


REQUEST No. 13:

All video or audio recordings or image files that in any way depict the BPCA Defendants or the
Real Estate Defendants.

       RESPONSE:

       Plaintiff objects to Request for Production No. 13 on the grounds that it is overly broad
       and unduly burdensome because it begins with the words, “All documents….”. In Judge
       Cott’s order from January 18th, 2017 (Dkt. No. 228), he wrote:

       “The Court observes preliminarily that all of Greer’s document requests begin
       with the phrase “[a]ll documents, communications, and correspondence which
       support, evidence, relate or otherwise pertain to . . . .” “Blanket requests of this
       kind are plainly overbroad and impermissible.” Henry v. Morgan’s Hotel Grp.,
       Inc., No. 15-CV-1789 (ER) (JLC), 2016 WL 303114, at *2 (S.D.N.Y. Jan. 25,
       2016); see, e.g., Gropper v. David Ellis Real Estate, L.P., No. 13-CV-2068 (ALC)
       (JCF), 2014 WL 518234, at *4 (S.D.N.Y. Feb. 10, 2014) (finding that a “request
       for ‘any and all’ documents . . . is inherently overbroad”); Rice v. Reliastar Life




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       Ins. Co., No. 11-CV-44 (BAJ) (CN), 2011 WL 5513181, at *2 (M.D. La. Nov. 10,
       2011) (finding that “a request for ‘any and all documents’ relating to a particular
       subject is overbroad and amounts to little more than a fishing expedition”); Badr
       v. Liberty Mutual Grp., Inc., No. 06-CV-1208, 2007 WL 2904210, at *3 (D.
       Conn. Sept. 28, 2007) (finding request for “any and all” documents “overly
       broad”)…

       All Defendants are reminded that, because Greer is proceeding pro se and is not
       an attorney, they should be both reasonable and pragmatic in their pursuit of
       documents in this case.”


       Plaintiff also objects to Request for Production No. 13 in that it is not reasonably
       calculated to lead to the discovery of admissible evidence.

REQUEST No. 14:
All video or audio recordings or image files that in any way depict Plaintiff's interactions or
other communications with the Park Enforcement Patrol.

       RESPONSE:

       Plaintiff objects to Request for Production No. 14 on the grounds that it is overly broad
       and unduly burdensome because it begins with the words, “All documents….”. In Judge
       Cott’s order from January 18th, 2017 (Dkt. No. 228), he wrote:

       “The Court observes preliminarily that all of Greer’s document requests begin
       with the phrase “[a]ll documents, communications, and correspondence which
       support, evidence, relate or otherwise pertain to . . . .” “Blanket requests of this
       kind are plainly overbroad and impermissible.” Henry v. Morgan’s Hotel Grp.,
       Inc., No. 15-CV-1789 (ER) (JLC), 2016 WL 303114, at *2 (S.D.N.Y. Jan. 25,
       2016); see, e.g., Gropper v. David Ellis Real Estate, L.P., No. 13-CV-2068 (ALC)
       (JCF), 2014 WL 518234, at *4 (S.D.N.Y. Feb. 10, 2014) (finding that a “request
       for ‘any and all’ documents . . . is inherently overbroad”); Rice v. Reliastar Life
       Ins. Co., No. 11-CV-44 (BAJ) (CN), 2011 WL 5513181, at *2 (M.D. La. Nov. 10,
       2011) (finding that “a request for ‘any and all documents’ relating to a particular
       subject is overbroad and amounts to little more than a fishing expedition”); Badr
       v. Liberty Mutual Grp., Inc., No. 06-CV-1208, 2007 WL 2904210, at *3 (D.
       Conn. Sept. 28, 2007) (finding request for “any and all” documents “overly
       broad”)…

       All Defendants are reminded that, because Greer is proceeding pro se and is not
       an attorney, they should be both reasonable and pragmatic in their pursuit of
       documents in this case.”




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       Plaintiff also objects to Request for Production No. 14 in that it is not reasonably
       calculated to lead to the discovery of admissible evidence. Those claims regarding the
       PEP have been dismissed by Judge Nathan.

REQUEST No. 15:
All video or audio recordings or image files that depict any event described in the Corrected
Amended Complaint (Dkt 85).

       RESPONSE:

       Plaintiff objects to Request for Production No. 15 on the grounds that it is overly broad
       and unduly burdensome because it begins with the words, “All documents….”. In Judge
       Cott’s order from January 18th, 2017 (Dkt. No. 228), he wrote:

       “The Court observes preliminarily that all of Greer’s document requests begin
       with the phrase “[a]ll documents, communications, and correspondence which
       support, evidence, relate or otherwise pertain to . . . .” “Blanket requests of this
       kind are plainly overbroad and impermissible.” Henry v. Morgan’s Hotel Grp.,
       Inc., No. 15-CV-1789 (ER) (JLC), 2016 WL 303114, at *2 (S.D.N.Y. Jan. 25,
       2016); see, e.g., Gropper v. David Ellis Real Estate, L.P., No. 13-CV-2068 (ALC)
       (JCF), 2014 WL 518234, at *4 (S.D.N.Y. Feb. 10, 2014) (finding that a “request
       for ‘any and all’ documents . . . is inherently overbroad”); Rice v. Reliastar Life
       Ins. Co., No. 11-CV-44 (BAJ) (CN), 2011 WL 5513181, at *2 (M.D. La. Nov. 10,
       2011) (finding that “a request for ‘any and all documents’ relating to a particular
       subject is overbroad and amounts to little more than a fishing expedition”); Badr
       v. Liberty Mutual Grp., Inc., No. 06-CV-1208, 2007 WL 2904210, at *3 (D.
       Conn. Sept. 28, 2007) (finding request for “any and all” documents “overly
       broad”)…

       All Defendants are reminded that, because Greer is proceeding pro se and is not
       an attorney, they should be both reasonable and pragmatic in their pursuit of
       documents in this case.”

       Plaintiff also objects to Request for Production No. 15 in that it is not reasonably
       calculated to lead to the discovery of admissible evidence.




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REQUEST No. 16:
All documents concerning communications between Plaintiff and any of the Real Estate
defendants related to the Apartment or the lease of same.

       RESPONSE:

       Plaintiff objects to Request for Production No. 16 on the grounds that it is overly broad
       and unduly burdensome because it begins with the words, “All documents….”. In Judge
       Cott’s order from January 18th, 2017 (Dkt. No. 228), he wrote:

       “The Court observes preliminarily that all of Greer’s document requests begin
       with the phrase “[a]ll documents, communications, and correspondence which
       support, evidence, relate or otherwise pertain to . . . .” “Blanket requests of this
       kind are plainly overbroad and impermissible.” Henry v. Morgan’s Hotel Grp.,
       Inc., No. 15-CV-1789 (ER) (JLC), 2016 WL 303114, at *2 (S.D.N.Y. Jan. 25,
       2016); see, e.g., Gropper v. David Ellis Real Estate, L.P., No. 13-CV-2068 (ALC)
       (JCF), 2014 WL 518234, at *4 (S.D.N.Y. Feb. 10, 2014) (finding that a “request
       for ‘any and all’ documents . . . is inherently overbroad”); Rice v. Reliastar Life
       Ins. Co., No. 11-CV-44 (BAJ) (CN), 2011 WL 5513181, at *2 (M.D. La. Nov. 10,
       2011) (finding that “a request for ‘any and all documents’ relating to a particular
       subject is overbroad and amounts to little more than a fishing expedition”); Badr
       v. Liberty Mutual Grp., Inc., No. 06-CV-1208, 2007 WL 2904210, at *3 (D.
       Conn. Sept. 28, 2007) (finding request for “any and all” documents “overly
       broad”)…

       All Defendants are reminded that, because Greer is proceeding pro se and is not
       an attorney, they should be both reasonable and pragmatic in their pursuit of
       documents in this case.”

       Plaintiff also objects to Request for Production No. 16 on the grounds that it is not
       reasonably calculated to lead to the discovery of admissible evidence.

REQUEST No. 17:
All documents concerning the allegation that "Going back to at least the year 2009, the BPCA
has never before set up any such satellite video viewing station," as referenced in ¶72 of the
Corrected Amended Complaint.

       RESPONSE:

       Plaintiff objects to Request for Production No. 17 on the grounds that it is overly broad
       and unduly burdensome because it begins with the words, “All documents….”. In Judge
       Cott’s order from January 18th, 2017 (Dkt. No. 228), he wrote:




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       “The Court observes preliminarily that all of Greer’s document requests begin
       with the phrase “[a]ll documents, communications, and correspondence which
       support, evidence, relate or otherwise pertain to . . . .” “Blanket requests of this
       kind are plainly overbroad and impermissible.” Henry v. Morgan’s Hotel Grp.,
       Inc., No. 15-CV-1789 (ER) (JLC), 2016 WL 303114, at *2 (S.D.N.Y. Jan. 25,
       2016); see, e.g., Gropper v. David Ellis Real Estate, L.P., No. 13-CV-2068 (ALC)
       (JCF), 2014 WL 518234, at *4 (S.D.N.Y. Feb. 10, 2014) (finding that a “request
       for ‘any and all’ documents . . . is inherently overbroad”); Rice v. Reliastar Life
       Ins. Co., No. 11-CV-44 (BAJ) (CN), 2011 WL 5513181, at *2 (M.D. La. Nov. 10,
       2011) (finding that “a request for ‘any and all documents’ relating to a particular
       subject is overbroad and amounts to little more than a fishing expedition”); Badr
       v. Liberty Mutual Grp., Inc., No. 06-CV-1208, 2007 WL 2904210, at *3 (D.
       Conn. Sept. 28, 2007) (finding request for “any and all” documents “overly
       broad”)…

       All Defendants are reminded that, because Greer is proceeding pro se and is not
       an attorney, they should be both reasonable and pragmatic in their pursuit of
       documents in this case.”

       In addition, no such viewing room was ever previously set up by the BPCA. Therefore,
       no such documents exist to Plaintiff’s knowledge. It is the defendant’s duty to prove that
       they ever set up such an event.

REQUEST No. 18:
All documents concerning the allegation that "the BPCA Chairman and CEO Dennis Mehiel has
indeed allowed questions from plaintiff and other reporters many times over the years during the
open BPCA meetings," as referenced in ¶124 of the Corrected Amended Complaint.

       RESPONSE:

       Plaintiff objects to Request for Production No. 18 on the grounds that it is overly broad
       and unduly burdensome because it begins with the words, “All documents….” However,
       in reply:

       Any video relevant to this request can be found on the YouTube channel located at:
       https://www.youtube.com/user/Batteryparktv

       In particular, please note:

       Mehiel replying to a question by BatteryPark.TV
       https://youtu.be/PxKT7qdlVoA

       Mehiel answering questions from the press
       https://youtu.be/LV5dGyrxZME




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       Mehiel and others answering questions at town hall
       https://youtu.be/kp-t_FKlsOM

       The electronic files can be downloaded using numerous browser applications that allow
       for the MP4 files to be downloaded. Defendants can choose which ones they believe are
       relevant to their request.


REQUEST No. 19:
All video recordings or audio recordings created by Plaintiff or in Plaintiff's possession or
control, reflecting questions being asked at BPCA meetings by Plaintiff or others members of the
general public. Any such video or audio recordings must be produced in their raw and unedited
form, as well as in any edited form.

       RESPONSE:

       Plaintiff objects to Request for Production No. 19 on the grounds that it is overly broad
       and unduly burdensome because it begins with the words, “All documents….”. In Judge
       Cott’s order from January 18th, 2017 (Dkt. No. 228), he wrote:

       “The Court observes preliminarily that all of Greer’s document requests begin
       with the phrase “[a]ll documents, communications, and correspondence which
       support, evidence, relate or otherwise pertain to . . . .” “Blanket requests of this
       kind are plainly overbroad and impermissible.” Henry v. Morgan’s Hotel Grp.,
       Inc., No. 15-CV-1789 (ER) (JLC), 2016 WL 303114, at *2 (S.D.N.Y. Jan. 25,
       2016); see, e.g., Gropper v. David Ellis Real Estate, L.P., No. 13-CV-2068 (ALC)
       (JCF), 2014 WL 518234, at *4 (S.D.N.Y. Feb. 10, 2014) (finding that a “request
       for ‘any and all’ documents . . . is inherently overbroad”); Rice v. Reliastar Life
       Ins. Co., No. 11-CV-44 (BAJ) (CN), 2011 WL 5513181, at *2 (M.D. La. Nov. 10,
       2011) (finding that “a request for ‘any and all documents’ relating to a particular
       subject is overbroad and amounts to little more than a fishing expedition”); Badr
       v. Liberty Mutual Grp., Inc., No. 06-CV-1208, 2007 WL 2904210, at *3 (D.
       Conn. Sept. 28, 2007) (finding request for “any and all” documents “overly
       broad”)…

       All Defendants are reminded that, because Greer is proceeding pro se and is not
       an attorney, they should be both reasonable and pragmatic in their pursuit of
       documents in this case.”

       Also, Plaintiff objects to Request for Production No. 19 on the grounds that is not
       reasonably calculated to lead to the discovery of admissible evidence.




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REQUEST No. 20:
All documents concerning the non-renewal of Plaintiffs former lease of Apartment 35F, 200
Rector Place, NY, NY (the "Apartment"), including but not limited to all housing court
documents.

       RESPONSE:

       Plaintiff objects to Request for Production No. 20 on the grounds that it is overly broad
       and unduly burdensome because it begins with the words, “All documents….”. In Judge
       Cott’s order from January 18th, 2017 (Dkt. No. 228), he wrote:

       “The Court observes preliminarily that all of Greer’s document requests begin
       with the phrase “[a]ll documents, communications, and correspondence which
       support, evidence, relate or otherwise pertain to . . . .” “Blanket requests of this
       kind are plainly overbroad and impermissible.” Henry v. Morgan’s Hotel Grp.,
       Inc., No. 15-CV-1789 (ER) (JLC), 2016 WL 303114, at *2 (S.D.N.Y. Jan. 25,
       2016); see, e.g., Gropper v. David Ellis Real Estate, L.P., No. 13-CV-2068 (ALC)
       (JCF), 2014 WL 518234, at *4 (S.D.N.Y. Feb. 10, 2014) (finding that a “request
       for ‘any and all’ documents . . . is inherently overbroad”); Rice v. Reliastar Life
       Ins. Co., No. 11-CV-44 (BAJ) (CN), 2011 WL 5513181, at *2 (M.D. La. Nov. 10,
       2011) (finding that “a request for ‘any and all documents’ relating to a particular
       subject is overbroad and amounts to little more than a fishing expedition”); Badr
       v. Liberty Mutual Grp., Inc., No. 06-CV-1208, 2007 WL 2904210, at *3 (D.
       Conn. Sept. 28, 2007) (finding request for “any and all” documents “overly
       broad”)…

       All Defendants are reminded that, because Greer is proceeding pro se and is not
       an attorney, they should be both reasonable and pragmatic in their pursuit of
       documents in this case.”

       Plaintiff objects to Request for Production No. 20 on the grounds that it is public
       information available from court at 111 Centre Street, second floor, as well as from the
       real estate lawyers.




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REQUEST No. 21:
All documents concerning any alleged conspiracy between or among any of the BPCA
Defendants and/or any of the Real Estate Defendants to not renew Plaintiff's lease for the
Apartment, as alleged in the Corrected Amended Complaint.

       RESPONSE:

       Plaintiff objects to Request for Production No. 21 on the grounds that it is overly broad
       and unduly burdensome because it begins with the words, “All documents….”. In Judge
       Cott’s order from January 18th, 2017 (Dkt. No. 228), he wrote:

       “The Court observes preliminarily that all of Greer’s document requests begin
       with the phrase “[a]ll documents, communications, and correspondence which
       support, evidence, relate or otherwise pertain to . . . .” “Blanket requests of this
       kind are plainly overbroad and impermissible.” Henry v. Morgan’s Hotel Grp.,
       Inc., No. 15-CV-1789 (ER) (JLC), 2016 WL 303114, at *2 (S.D.N.Y. Jan. 25,
       2016); see, e.g., Gropper v. David Ellis Real Estate, L.P., No. 13-CV-2068 (ALC)
       (JCF), 2014 WL 518234, at *4 (S.D.N.Y. Feb. 10, 2014) (finding that a “request
       for ‘any and all’ documents . . . is inherently overbroad”); Rice v. Reliastar Life
       Ins. Co., No. 11-CV-44 (BAJ) (CN), 2011 WL 5513181, at *2 (M.D. La. Nov. 10,
       2011) (finding that “a request for ‘any and all documents’ relating to a particular
       subject is overbroad and amounts to little more than a fishing expedition”); Badr
       v. Liberty Mutual Grp., Inc., No. 06-CV-1208, 2007 WL 2904210, at *3 (D.
       Conn. Sept. 28, 2007) (finding request for “any and all” documents “overly
       broad”)…

       All Defendants are reminded that, because Greer is proceeding pro se and is not
       an attorney, they should be both reasonable and pragmatic in their pursuit of
       documents in this case.”

REQUEST No. 22:
All documents concerning the allegation that "BPCA was working to evict" Plaintiff, as
referenced at ¶¶58-59 of the Corrected Amended Complaint. This request includes, but is not
limited to, the alleged email from Vince McGowan to Plaintiff referenced in ¶58 of the Corrected
Amended Complaint, and all documents concerning the alleged phone conversation between
Vince McGowan and Plaintiff referenced in ¶59 of the Corrected Amended Complaint.

       RESPONSE:

       Plaintiff objects to Request for Production No. 22 on the grounds that it is overly broad
       and unduly burdensome because, among other reasons, it begins with the words, “All
       documents….”. In Judge Cott’s order from January 18th, 2017 (Dkt. No. 228), he wrote:




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          “The Court observes preliminarily that all of Greer’s document requests
  begin with the phrase “[a]ll documents, communications, and correspondence
  which support, evidence, relate or otherwise pertain to . . . .” “Blanket requests of
  this kind are plainly overbroad and impermissible.” Henry v. Morgan’s Hotel
  Grp., Inc., No. 15-CV-1789 (ER) (JLC), 2016 WL 303114, at *2 (S.D.N.Y. Jan.
  25, 2016); see, e.g., Gropper v. David Ellis Real Estate, L.P., No. 13-CV-2068
  (ALC) (JCF), 2014 WL 518234, at *4 (S.D.N.Y. Feb. 10, 2014) (finding that a
  “request for ‘any and all’ documents . . . is inherently overbroad”); Rice v.
  Reliastar Life Ins. Co., No. 11-CV-44 (BAJ) (CN), 2011 WL 5513181, at *2
  (M.D. La. Nov. 10, 2011) (finding that “a request for ‘any and all documents’
  relating to a particular subject is overbroad and amounts to little more than a
  fishing expedition”); Badr v. Liberty Mutual Grp., Inc., No. 06-CV-1208, 2007
  WL 2904210, at *3 (D. Conn. Sept. 28, 2007) (finding request for “any and all”
  documents “overly broad”)…

          All Defendants are reminded that, because Greer is proceeding pro se and
  is not an attorney, they should be both reasonable and pragmatic in their pursuit of
  documents in this case.”

  In addition, Plaintiff objects to No. 22 because it is a duplicate of the No. 4
  request.

  In addition, the only relevant producible document relating to Mr. McGowan was
  the January 12, 2014 email, already disclosed in the complaints, in which Mr.
  McGowan tipped off Plaintiff that he knew of Plaintiff’s apartment lease not
  being renewed even before Plaintiff knew, “It is good to see that you appreciate
  what we have on the West Side, Hope you can stay." A subsequent voice phone
  call, not recorded, in which Mr. McGowan clarified what he meant in the email, is
  not producible documentation.

  Moreover, Plaintiff is a journalist and information of news sources is privileged
  and protected. In the Reporters Committee for the Freedom of the press
  (http://www.rcfp.org/rcfp/orders/docs/privilege/02.pdf):

  “First Amendment protection. The U.S. Supreme Court last considered a
  constitutionally based reporter's privilege in 1972 in Branzburg v. Hayes, 408
  U.S. 665 (1972). Justice Byron White, joined by three other justices, wrote the
  opinion for the Court, holding that the First Amendment does not protect a
  journalist who has actually witnessed criminal activity from revealing his or her
  information to a grand jury. However a concurring opinion by Justice Lewis
  Powell and a dissenting opinion by Justice Potter Stewart recognized a qualified
  privilege for reporters.

  State constitutions, common law and court rules. Many states have recognized a
  reporter's privilege based on state law. For example, New York's highest court
  recognized a qualified reporter's privilege under its own state constitution,




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       protecting both confidential and non-confidential materials. (O'Neill v. Oakgrove
       Construction Inc., 71 N.Y.S.2d 521 (1988)).”

REQUEST No. 23:
All documents concerning the allegation that "BPCA had pressured Mariners, Milford, and Rossi
to not renew Plaintiffs lease," as referenced in ¶¶63-67 of the Corrected Amended Complaint.
This request includes, but is not limited to, the alleged email to Plaintiff from "a BPCA insider"
referenced in ¶63 of the Corrected Amended Complaint, and all documents concerning the
alleged phone conversation(s) between Kirk Swanson and Plaintiff referenced in ¶64 of the
Corrected Amended Complaint.

       RESPONSE:

       Plaintiff objects to Request for Production No. 23 on the grounds that it is overly broad
       and unduly burdensome because it begins with the words, “All documents….”. In Judge
       Cott’s order from January 18th, 2017 (Dkt. No. 228), he wrote:

       “The Court observes preliminarily that all of Greer’s document requests begin
       with the phrase “[a]ll documents, communications, and correspondence which
       support, evidence, relate or otherwise pertain to . . . .” “Blanket requests of this
       kind are plainly overbroad and impermissible.” Henry v. Morgan’s Hotel Grp.,
       Inc., No. 15-CV-1789 (ER) (JLC), 2016 WL 303114, at *2 (S.D.N.Y. Jan. 25,
       2016); see, e.g., Gropper v. David Ellis Real Estate, L.P., No. 13-CV-2068 (ALC)
       (JCF), 2014 WL 518234, at *4 (S.D.N.Y. Feb. 10, 2014) (finding that a “request
       for ‘any and all’ documents . . . is inherently overbroad”); Rice v. Reliastar Life
       Ins. Co., No. 11-CV-44 (BAJ) (CN), 2011 WL 5513181, at *2 (M.D. La. Nov. 10,
       2011) (finding that “a request for ‘any and all documents’ relating to a particular
       subject is overbroad and amounts to little more than a fishing expedition”); Badr
       v. Liberty Mutual Grp., Inc., No. 06-CV-1208, 2007 WL 2904210, at *3 (D.
       Conn. Sept. 28, 2007) (finding request for “any and all” documents “overly
       broad”)…

       All Defendants are reminded that, because Greer is proceeding pro se and is not
       an attorney, they should be both reasonable and pragmatic in their pursuit of
       documents in this case.”


       In addition, no such documents in the possession of Plaintiff are known to exist.




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REQUEST No. 24:
All documents concerning any reaction or response by any of the BPCA Defendants and/or the
Real Estate Defendants to any of Plaintiff's alleged journalistic activities, including documents
pertaining to any alleged retaliation against Plaintiff, or any alleged conspiracy to retaliate
against Plaintiff, by any of the BPCA Defendants and/or the Real Estate Defendants.

       RESPONSE:

       Plaintiff objects to Request for Production No. 24 on the grounds that it is overly broad
       and unduly burdensome because it begins with the words, “All documents….”. In Judge
       Cott’s order from January 18th, 2017 (Dkt. No. 228), he wrote:

       “The Court observes preliminarily that all of Greer’s document requests begin
       with the phrase “[a]ll documents, communications, and correspondence which
       support, evidence, relate or otherwise pertain to . . . .” “Blanket requests of this
       kind are plainly overbroad and impermissible.” Henry v. Morgan’s Hotel Grp.,
       Inc., No. 15-CV-1789 (ER) (JLC), 2016 WL 303114, at *2 (S.D.N.Y. Jan. 25,
       2016); see, e.g., Gropper v. David Ellis Real Estate, L.P., No. 13-CV-2068 (ALC)
       (JCF), 2014 WL 518234, at *4 (S.D.N.Y. Feb. 10, 2014) (finding that a “request
       for ‘any and all’ documents . . . is inherently overbroad”); Rice v. Reliastar Life
       Ins. Co., No. 11-CV-44 (BAJ) (CN), 2011 WL 5513181, at *2 (M.D. La. Nov. 10,
       2011) (finding that “a request for ‘any and all documents’ relating to a particular
       subject is overbroad and amounts to little more than a fishing expedition”); Badr
       v. Liberty Mutual Grp., Inc., No. 06-CV-1208, 2007 WL 2904210, at *3 (D.
       Conn. Sept. 28, 2007) (finding request for “any and all” documents “overly
       broad”)…

       All Defendants are reminded that, because Greer is proceeding pro se and is not
       an attorney, they should be both reasonable and pragmatic in their pursuit of
       documents in this case.”


       In addition, no such documents in the possession of Plaintiff are known to exist.




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REQUEST No. 25:
All documents concerning any mental and/or emotional suffering experienced by Plaintiff in
connection with any claim alleged in the Corrected Amended Complaint, including but not
limited to the alleged "mental anguish" referenced on pages 3 and 5 of the Plaintiff's Initial
Disclosures, the alleged "tangible, concrete mental...hardship" referenced at ¶115 of the
Corrected Amended Complaint, and the alleged "embarrassment, humiliation, mental distress,
anxiety, and depression" referenced on page 34 of the Corrected Amended Complaint.

       RESPONSE:

       Plaintiff objects to Request for Production No. 25 on the grounds that it is overly broad
       and unduly burdensome because it begins with the words, “All documents….”. In Judge
       Cott’s order from January 18th, 2017 (Dkt. No. 228), he wrote:

       “The Court observes preliminarily that all of Greer’s document requests begin
       with the phrase “[a]ll documents, communications, and correspondence which
       support, evidence, relate or otherwise pertain to . . . .” “Blanket requests of this
       kind are plainly overbroad and impermissible.” Henry v. Morgan’s Hotel Grp.,
       Inc., No. 15-CV-1789 (ER) (JLC), 2016 WL 303114, at *2 (S.D.N.Y. Jan. 25,
       2016); see, e.g., Gropper v. David Ellis Real Estate, L.P., No. 13-CV-2068 (ALC)
       (JCF), 2014 WL 518234, at *4 (S.D.N.Y. Feb. 10, 2014) (finding that a “request
       for ‘any and all’ documents . . . is inherently overbroad”); Rice v. Reliastar Life
       Ins. Co., No. 11-CV-44 (BAJ) (CN), 2011 WL 5513181, at *2 (M.D. La. Nov. 10,
       2011) (finding that “a request for ‘any and all documents’ relating to a particular
       subject is overbroad and amounts to little more than a fishing expedition”); Badr
       v. Liberty Mutual Grp., Inc., No. 06-CV-1208, 2007 WL 2904210, at *3 (D.
       Conn. Sept. 28, 2007) (finding request for “any and all” documents “overly
       broad”)…

       All Defendants are reminded that, because Greer is proceeding pro se and is not
       an attorney, they should be both reasonable and pragmatic in their pursuit of
       documents in this case.”


       Plaintiff objects to Request for Production No. 25 in principal on the grounds that
       it seeks privileged doctor-patient records pursuant to the federal Health
       Information Portability and Accountability Act (HIPAA) and other laws.
       However, no such documents yet exist.




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REQUEST No. 26:
All documents concerning any consultation or treatment that Plaintiff received from any
physician, psychologist, psychiatrist, counsellor, social worker, therapist or other health
care professional or institution concerning any mental or physical condition which Plaintiff
claims is related to any alleged mental, emotional or physical suffering resulting from any
interaction with, or any retaliation or other conduct by, any or all of the Defendants,
including but not limited to the non-renewal of Plaintiff's lease for the Apartment.

       RESPONSE:

       Plaintiff objects to Request for Production No. 26 on the grounds that it is overly broad
       and unduly burdensome because it begins with the words, “All documents….”. In Judge
       Cott’s order from January 18th, 2017 (Dkt. No. 228), he wrote:

       “The Court observes preliminarily that all of Greer’s document requests begin
       with the phrase “[a]ll documents, communications, and correspondence which
       support, evidence, relate or otherwise pertain to . . . .” “Blanket requests of this
       kind are plainly overbroad and impermissible.” Henry v. Morgan’s Hotel Grp.,
       Inc., No. 15-CV-1789 (ER) (JLC), 2016 WL 303114, at *2 (S.D.N.Y. Jan. 25,
       2016); see, e.g., Gropper v. David Ellis Real Estate, L.P., No. 13-CV-2068 (ALC)
       (JCF), 2014 WL 518234, at *4 (S.D.N.Y. Feb. 10, 2014) (finding that a “request
       for ‘any and all’ documents . . . is inherently overbroad”); Rice v. Reliastar Life
       Ins. Co., No. 11-CV-44 (BAJ) (CN), 2011 WL 5513181, at *2 (M.D. La. Nov. 10,
       2011) (finding that “a request for ‘any and all documents’ relating to a particular
       subject is overbroad and amounts to little more than a fishing expedition”); Badr
       v. Liberty Mutual Grp., Inc., No. 06-CV-1208, 2007 WL 2904210, at *3 (D.
       Conn. Sept. 28, 2007) (finding request for “any and all” documents “overly
       broad”)…

       All Defendants are reminded that, because Greer is proceeding pro se and is not
       an attorney, they should be both reasonable and pragmatic in their pursuit of
       documents in this case.”

       Plaintiff objects to Request for Production No. 25 in principal on the grounds that
       it seeks privileged doctor-patient records pursuant to the federal Health
       Information Portability and Accountability Act (HIPAA) and other laws.
       However, no such documents yet exist.


REQUEST No. 27:
The BPCA Defendants request that Plaintiff immediately provide duly-executed Authorizations
for the Release of Medical Records, in the form attached as Exhibit A, from any physician,
psychologist, psychiatrist, counselor [sic], social worker, therapist or other health care
professional or institution that Plaintiff has visited or consulted with respect to any mental or




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physical condition which Plaintiff claims is related to any alleged mental, emotional or physical
suffering resulting from any interaction with, or any retaliation or other conduct by, any or all of
the Defendants, including but not limited to the non-renewal of Plaintiff's lease for the
Apartment. For purposes of this Request, such "mental or physical condition" includes but is not
limited to the alleged "mental anguish" referenced on pages 3 and 5 of the Plaintiff's Initial
Disclosures, the alleged "tangible, concrete mental...hardship" referenced at ¶115 of the
Corrected Amended Complaint, and the alleged "embarrassment, humiliation, mental distress,
anxiety, and depression" referenced on page 34 of the Corrected Amended Complaint. The
executed Authorizations for the Release of Medical Records will authorize the release to the
BPCA Defendant's counsel of all records which in any way relate to any and all medical,
psychiatric and/or psychological treatment, counseling or therapy received by Plaintiff from
January 1, 2009 to the present.

       RESPONSE:

       Request No. 27 uses broad language, “from any physician, psychologist, psychiatrist,
       counselor, social worker, therapist or other health care professional or institution that
       Plaintiff has visited or consulted with respect to any mental or physical condition”
       Therefore, Plaintiff objects to Request for Production No. 27 on the grounds that it is
       overly broad and unduly burdensome because it begins with the words, “All
       documents….”. In Judge Cott’s order from January 18th, 2017 (Dkt. No. 228), he wrote:

       “The Court observes preliminarily that all of Greer’s document requests begin
       with the phrase “[a]ll documents, communications, and correspondence which
       support, evidence, relate or otherwise pertain to . . . .” “Blanket requests of this
       kind are plainly overbroad and impermissible.” Henry v. Morgan’s Hotel Grp.,
       Inc., No. 15-CV-1789 (ER) (JLC), 2016 WL 303114, at *2 (S.D.N.Y. Jan. 25,
       2016); see, e.g., Gropper v. David Ellis Real Estate, L.P., No. 13-CV-2068 (ALC)
       (JCF), 2014 WL 518234, at *4 (S.D.N.Y. Feb. 10, 2014) (finding that a “request
       for ‘any and all’ documents . . . is inherently overbroad”); Rice v. Reliastar Life
       Ins. Co., No. 11-CV-44 (BAJ) (CN), 2011 WL 5513181, at *2 (M.D. La. Nov. 10,
       2011) (finding that “a request for ‘any and all documents’ relating to a particular
       subject is overbroad and amounts to little more than a fishing expedition”); Badr
       v. Liberty Mutual Grp., Inc., No. 06-CV-1208, 2007 WL 2904210, at *3 (D.
       Conn. Sept. 28, 2007) (finding request for “any and all” documents “overly
       broad”)…

       All Defendants are reminded that, because Greer is proceeding pro se and is not
       an attorney, they should be both reasonable and pragmatic in their pursuit of
       documents in this case.”

       Plaintiff objects to Request for Production No. 27 on the grounds that it seeks privileged
       doctor-patient records pursuant to the federal Health Information Portability and
       Accountability Act (HIPAA) and other laws. Moreover, no such documents yet exist to
       the best of Plaintiff’s knowledge. The nature of the documents held by a hospital or
       doctor are unknown to Plaintiff.




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REQUEST No. 28:
All documents concerning the allegation that Plaintiff suffered "tangible, concrete...financial
hardship" as a result of the allegedly "retaliatory eviction proceedings," as referenced in ¶115 of
the Corrected Amended Complaint.

       RESPONSE:

       Plaintiff objects to Request for Production No. 28 on the grounds that it is overly broad
       and unduly burdensome because it begins with the words, “All documents….”. In Judge
       Cott’s order from January 18th, 2017 (Dkt. No. 228), he wrote:

       “The Court observes preliminarily that all of Greer’s document requests begin
       with the phrase “[a]ll documents, communications, and correspondence which
       support, evidence, relate or otherwise pertain to . . . .” “Blanket requests of this
       kind are plainly overbroad and impermissible.” Henry v. Morgan’s Hotel Grp.,
       Inc., No. 15-CV-1789 (ER) (JLC), 2016 WL 303114, at *2 (S.D.N.Y. Jan. 25,
       2016); see, e.g., Gropper v. David Ellis Real Estate, L.P., No. 13-CV-2068 (ALC)
       (JCF), 2014 WL 518234, at *4 (S.D.N.Y. Feb. 10, 2014) (finding that a “request
       for ‘any and all’ documents . . . is inherently overbroad”); Rice v. Reliastar Life
       Ins. Co., No. 11-CV-44 (BAJ) (CN), 2011 WL 5513181, at *2 (M.D. La. Nov. 10,
       2011) (finding that “a request for ‘any and all documents’ relating to a particular
       subject is overbroad and amounts to little more than a fishing expedition”); Badr
       v. Liberty Mutual Grp., Inc., No. 06-CV-1208, 2007 WL 2904210, at *3 (D.
       Conn. Sept. 28, 2007) (finding request for “any and all” documents “overly
       broad”)…

       All Defendants are reminded that, because Greer is proceeding pro se and is not
       an attorney, they should be both reasonable and pragmatic in their pursuit of
       documents in this case.”

       In addition, no such financial tabulations and calculations have been created and
       do not yet exist. If a jury ultimately finds in favor of Plaintiff, an extensive
       accounting process will have to be undertaken. Currently, this is beyond the
       means of pro se Plaintiff to produce these documents.


REQUEST No. 29:
All documents concerning any of Plaintiffs claims for damages from past lost revenue, including
but not limited to the alleged "Past Lost Revenue from plaintiff's businesses" referenced on page
4 of the Plaintiff's Initial Disclosures. Such documents should include, but not be limited to, pay
stubs, income tax returns, profit and loss or similar accounting statements, and all other proof of
Plaintiff's income from 2006 to the present.




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       RESPONSE:

       Plaintiff objects to Request for Production No. 29 on the grounds that it is overly broad
       and unduly burdensome because it begins with the words, “All documents….”. In Judge
       Cott’s order from January 18th, 2017 (Dkt. No. 228), he wrote:

       “The Court observes preliminarily that all of Greer’s document requests begin
       with the phrase “[a]ll documents, communications, and correspondence which
       support, evidence, relate or otherwise pertain to . . . .” “Blanket requests of this
       kind are plainly overbroad and impermissible.” Henry v. Morgan’s Hotel Grp.,
       Inc., No. 15-CV-1789 (ER) (JLC), 2016 WL 303114, at *2 (S.D.N.Y. Jan. 25,
       2016); see, e.g., Gropper v. David Ellis Real Estate, L.P., No. 13-CV-2068 (ALC)
       (JCF), 2014 WL 518234, at *4 (S.D.N.Y. Feb. 10, 2014) (finding that a “request
       for ‘any and all’ documents . . . is inherently overbroad”); Rice v. Reliastar Life
       Ins. Co., No. 11-CV-44 (BAJ) (CN), 2011 WL 5513181, at *2 (M.D. La. Nov. 10,
       2011) (finding that “a request for ‘any and all documents’ relating to a particular
       subject is overbroad and amounts to little more than a fishing expedition”); Badr
       v. Liberty Mutual Grp., Inc., No. 06-CV-1208, 2007 WL 2904210, at *3 (D.
       Conn. Sept. 28, 2007) (finding request for “any and all” documents “overly
       broad”)…

       All Defendants are reminded that, because Greer is proceeding pro se and is not
       an attorney, they should be both reasonable and pragmatic in their pursuit of
       documents in this case.”

       Plaintiff also objects to Request for Production No. 29 on the grounds that it is no longer
       relevant to document income and revenue given the newly revised initial disclosures,
       served on January 30th, 2017, that value Plaintiff’s companies based on banking metrics
       that do not involve the current revenue and income of the businesses.

REQUEST No. 30:

All documents concerning any of Plaintiff's claims for damages from future lost revenue,
including but not limited to the alleged “Future Lost Revenue from The Healthcare Channel and
medical practice" referenced on page 5 of the Plaintiff's Initial Disclosures. Such documents
should include, but not be limited to, paystubs, income tax returns, profit and loss or similar
accounting statements, and all other proof of Plaintiff's income from 2006 to the present.

       RESPONSE:

       Plaintiff objects to Request for Production No. 30 on the grounds that it is overly broad
       and unduly burdensome because it begins with the words, “All documents….”. In Judge
       Cott’s order from January 18th, 2017 (Dkt. No. 228), he wrote:




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       “The Court observes preliminarily that all of Greer’s document requests begin
       with the phrase “[a]ll documents, communications, and correspondence which
       support, evidence, relate or otherwise pertain to . . . .” “Blanket requests of this
       kind are plainly overbroad and impermissible.” Henry v. Morgan’s Hotel Grp.,
       Inc., No. 15-CV-1789 (ER) (JLC), 2016 WL 303114, at *2 (S.D.N.Y. Jan. 25,
       2016); see, e.g., Gropper v. David Ellis Real Estate, L.P., No. 13-CV-2068 (ALC)
       (JCF), 2014 WL 518234, at *4 (S.D.N.Y. Feb. 10, 2014) (finding that a “request
       for ‘any and all’ documents . . . is inherently overbroad”); Rice v. Reliastar Life
       Ins. Co., No. 11-CV-44 (BAJ) (CN), 2011 WL 5513181, at *2 (M.D. La. Nov. 10,
       2011) (finding that “a request for ‘any and all documents’ relating to a particular
       subject is overbroad and amounts to little more than a fishing expedition”); Badr
       v. Liberty Mutual Grp., Inc., No. 06-CV-1208, 2007 WL 2904210, at *3 (D.
       Conn. Sept. 28, 2007) (finding request for “any and all” documents “overly
       broad”)…

       All Defendants are reminded that, because Greer is proceeding pro se and is not
       an attorney, they should be both reasonable and pragmatic in their pursuit of
       documents in this case.”

       Plaintiff also objects to Request for Production No. 30 on the grounds that it is no longer
       relevant to document income and revenue given the newly revised initial disclosures,
       served on January 30th, 2017, that value Plaintiff’s companies based on banking metrics
       that do not involve the current revenue and income of the businesses.

REQUEST No. 31:

All documents concerning any of Plaintiff's claims of reputational damage, including but not
limited to the alleged "Reputation damage caused by retaliatory eviction" referenced on page 5
of the Plaintiff's Initial Disclosures, and to the alleged "irreparable harm to personal and
professional reputation" referenced on page 34 of the Corrected Amended
Complaint.

       RESPONSE:

       Plaintiff objects to Request for Production No. 31 on the grounds that it is overly broad
       and unduly burdensome because it begins with the words, “All documents….”. In Judge
       Cott’s order from January 18th, 2017 (Dkt. No. 228), he wrote:

       “The Court observes preliminarily that all of Greer’s document requests begin
       with the phrase “[a]ll documents, communications, and correspondence which
       support, evidence, relate or otherwise pertain to . . . .” “Blanket requests of this
       kind are plainly overbroad and impermissible.” Henry v. Morgan’s Hotel Grp.,
       Inc., No. 15-CV-1789 (ER) (JLC), 2016 WL 303114, at *2 (S.D.N.Y. Jan. 25,
       2016); see, e.g., Gropper v. David Ellis Real Estate, L.P., No. 13-CV-2068 (ALC)
       (JCF), 2014 WL 518234, at *4 (S.D.N.Y. Feb. 10, 2014) (finding that a “request
       for ‘any and all’ documents . . . is inherently overbroad”); Rice v. Reliastar Life




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       Ins. Co., No. 11-CV-44 (BAJ) (CN), 2011 WL 5513181, at *2 (M.D. La. Nov. 10,
       2011) (finding that “a request for ‘any and all documents’ relating to a particular
       subject is overbroad and amounts to little more than a fishing expedition”); Badr
       v. Liberty Mutual Grp., Inc., No. 06-CV-1208, 2007 WL 2904210, at *3 (D.
       Conn. Sept. 28, 2007) (finding request for “any and all” documents “overly
       broad”)…

       All Defendants are reminded that, because Greer is proceeding pro se and is not
       an attorney, they should be both reasonable and pragmatic in their pursuit of
       documents in this case.”


       In addition, no such documents exist at this time to the best of Plaintiff’s knowledge.

REQUEST No. 32:
All documents concerning any of Plaintiff's claims for moving cost damages, including but not
limited to the "Cost to move out of apartment" referenced on page 5 of the Plaintiff's Initial
Disclosures. Such documents should include, but not be limited to, invoices or other proof of
current rent, invoices or other proof of former rent, invoices from moving companies, and other
proof of expenses associated with moving.

       RESPONSE:

       Plaintiff objects to Request for Production No. 32 on the grounds that it is overly broad
       and unduly burdensome because it begins with the words, “All documents….”. In Judge
       Cott’s order from January 18th, 2017 (Dkt. No. 228), he wrote:

       “The Court observes preliminarily that all of Greer’s document requests begin
       with the phrase “[a]ll documents, communications, and correspondence which
       support, evidence, relate or otherwise pertain to . . . .” “Blanket requests of this
       kind are plainly overbroad and impermissible.” Henry v. Morgan’s Hotel Grp.,
       Inc., No. 15-CV-1789 (ER) (JLC), 2016 WL 303114, at *2 (S.D.N.Y. Jan. 25,
       2016); see, e.g., Gropper v. David Ellis Real Estate, L.P., No. 13-CV-2068 (ALC)
       (JCF), 2014 WL 518234, at *4 (S.D.N.Y. Feb. 10, 2014) (finding that a “request
       for ‘any and all’ documents . . . is inherently overbroad”); Rice v. Reliastar Life
       Ins. Co., No. 11-CV-44 (BAJ) (CN), 2011 WL 5513181, at *2 (M.D. La. Nov. 10,
       2011) (finding that “a request for ‘any and all documents’ relating to a particular
       subject is overbroad and amounts to little more than a fishing expedition”); Badr
       v. Liberty Mutual Grp., Inc., No. 06-CV-1208, 2007 WL 2904210, at *3 (D.
       Conn. Sept. 28, 2007) (finding request for “any and all” documents “overly
       broad”)…

       All Defendants are reminded that, because Greer is proceeding pro se and is not
       an attorney, they should be both reasonable and pragmatic in their pursuit of
       documents in this case.”




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       Plaintiff also objects to Request for Production No. 32 on the grounds that it is publicly
       available information (i.e. the rent) found in the documents filed in this complaint and the
       housing court litigation.

       In addition, Plaintiff is not in possession of the receipts and records sought. Pro se
       Plaintiff cannot spend the time and money to produce a detailed accounting sheet at this
       time.

REQUEST No. 33:
All documents concerning any of Plaintiff's claims for damages from lost enjoyment of the
Apartment, including but not limited to the "Loss of enjoyment of NYC apartment" referenced
on page 5 of the Plaintiff's Initial Disclosures.

       RESPONSE:

       Plaintiff objects to Request for Production No. 33 on the grounds that it is overly broad
       and unduly burdensome because it begins with the words, “All documents….”. In Judge
       Cott’s order from January 18th, 2017 (Dkt. No. 228), he wrote:

       “The Court observes preliminarily that all of Greer’s document requests begin
       with the phrase “[a]ll documents, communications, and correspondence which
       support, evidence, relate or otherwise pertain to . . . .” “Blanket requests of this
       kind are plainly overbroad and impermissible.” Henry v. Morgan’s Hotel Grp.,
       Inc., No. 15-CV-1789 (ER) (JLC), 2016 WL 303114, at *2 (S.D.N.Y. Jan. 25,
       2016); see, e.g., Gropper v. David Ellis Real Estate, L.P., No. 13-CV-2068 (ALC)
       (JCF), 2014 WL 518234, at *4 (S.D.N.Y. Feb. 10, 2014) (finding that a “request
       for ‘any and all’ documents . . . is inherently overbroad”); Rice v. Reliastar Life
       Ins. Co., No. 11-CV-44 (BAJ) (CN), 2011 WL 5513181, at *2 (M.D. La. Nov. 10,
       2011) (finding that “a request for ‘any and all documents’ relating to a particular
       subject is overbroad and amounts to little more than a fishing expedition”); Badr
       v. Liberty Mutual Grp., Inc., No. 06-CV-1208, 2007 WL 2904210, at *3 (D.
       Conn. Sept. 28, 2007) (finding request for “any and all” documents “overly
       broad”)…

       All Defendants are reminded that, because Greer is proceeding pro se and is not
       an attorney, they should be both reasonable and pragmatic in their pursuit of
       documents in this case.”

       In addition, Plaintiff objects on the grounds that the loss of enjoyment of the apartment is
       calculated based on the market rate for such an apartment, and the lease and rent
       information is already public information in the briefs filed for this complaint.




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REQUEST No. 34:
All documents concerning any of Plaintiff's claims for damages from housing court judgments,
including but not limited to the "Housing court judgments" referenced on page 5 of the Plaintiff's
Initial Disclosures.

       RESPONSE:

       Plaintiff objects to Request for Production No. 34 on the grounds that it is overly broad
       and unduly burdensome because it begins with the words, “All documents….”. In Judge
       Cott’s order from January 18th, 2017 (Dkt. No. 228), he wrote:

       “The Court observes preliminarily that all of Greer’s document requests begin
       with the phrase “[a]ll documents, communications, and correspondence which
       support, evidence, relate or otherwise pertain to . . . .” “Blanket requests of this
       kind are plainly overbroad and impermissible.” Henry v. Morgan’s Hotel Grp.,
       Inc., No. 15-CV-1789 (ER) (JLC), 2016 WL 303114, at *2 (S.D.N.Y. Jan. 25,
       2016); see, e.g., Gropper v. David Ellis Real Estate, L.P., No. 13-CV-2068 (ALC)
       (JCF), 2014 WL 518234, at *4 (S.D.N.Y. Feb. 10, 2014) (finding that a “request
       for ‘any and all’ documents . . . is inherently overbroad”); Rice v. Reliastar Life
       Ins. Co., No. 11-CV-44 (BAJ) (CN), 2011 WL 5513181, at *2 (M.D. La. Nov. 10,
       2011) (finding that “a request for ‘any and all documents’ relating to a particular
       subject is overbroad and amounts to little more than a fishing expedition”); Badr
       v. Liberty Mutual Grp., Inc., No. 06-CV-1208, 2007 WL 2904210, at *3 (D.
       Conn. Sept. 28, 2007) (finding request for “any and all” documents “overly
       broad”)…

       All Defendants are reminded that, because Greer is proceeding pro se and is not
       an attorney, they should be both reasonable and pragmatic in their pursuit of
       documents in this case.”

       Plaintiff objects to Request for Production No. 34 on the grounds that it is publicly
       available court documentation that is also in the possession of the real estate lawyers. It is
       overly burdensome to expect pro se Plaintiff to provide a small truckload of documents.

REQUEST No. 35:
All documents concerning any of Plaintiffs claims for damages for the time and cost to prepare
documents in connection with any claim against any of the BPCA Defendants, including but not
limited to the "Time and cost to prepare documents" referenced on page 5 of the Plaintiff's Initial
Disclosures.




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       RESPONSE:

       Plaintiff objects to Request for Production No. 35 on the grounds that it is overly broad
       and unduly burdensome because it begins with the words, “All documents….”. In Judge
       Cott’s order from January 18th, 2017 (Dkt. No. 228), he wrote:

       “The Court observes preliminarily that all of Greer’s document requests begin
       with the phrase “[a]ll documents, communications, and correspondence which
       support, evidence, relate or otherwise pertain to . . . .” “Blanket requests of this
       kind are plainly overbroad and impermissible.” Henry v. Morgan’s Hotel Grp.,
       Inc., No. 15-CV-1789 (ER) (JLC), 2016 WL 303114, at *2 (S.D.N.Y. Jan. 25,
       2016); see, e.g., Gropper v. David Ellis Real Estate, L.P., No. 13-CV-2068 (ALC)
       (JCF), 2014 WL 518234, at *4 (S.D.N.Y. Feb. 10, 2014) (finding that a “request
       for ‘any and all’ documents . . . is inherently overbroad”); Rice v. Reliastar Life
       Ins. Co., No. 11-CV-44 (BAJ) (CN), 2011 WL 5513181, at *2 (M.D. La. Nov. 10,
       2011) (finding that “a request for ‘any and all documents’ relating to a particular
       subject is overbroad and amounts to little more than a fishing expedition”); Badr
       v. Liberty Mutual Grp., Inc., No. 06-CV-1208, 2007 WL 2904210, at *3 (D.
       Conn. Sept. 28, 2007) (finding request for “any and all” documents “overly
       broad”)…

       All Defendants are reminded that, because Greer is proceeding pro se and is not
       an attorney, they should be both reasonable and pragmatic in their pursuit of
       documents in this case.”

       In addition, no such accounting documents yet exist in the possession of Plaintiff.

REQUEST No. 36:
All documents concerning any of Plaintiffs claims for damages from travel, including but not
limited to the "Travel to court" referenced on page 5 of the Plaintiff's Initial Disclosures. Such
documents should include, but not be limited to, receipts for transportation, gasoline, and tolls,
and proof of mileage traveled.

       RESPONSE:

       Plaintiff objects to Request for Production No. 36 on the grounds that it is overly broad
       and unduly burdensome because it begins with the words, “All documents….”. In Judge
       Cott’s order from January 18th, 2017 (Dkt. No. 228), he wrote:

       “The Court observes preliminarily that all of Greer’s document requests begin
       with the phrase “[a]ll documents, communications, and correspondence which
       support, evidence, relate or otherwise pertain to . . . .” “Blanket requests of this
       kind are plainly overbroad and impermissible.” Henry v. Morgan’s Hotel Grp.,
       Inc., No. 15-CV-1789 (ER) (JLC), 2016 WL 303114, at *2 (S.D.N.Y. Jan. 25,
       2016); see, e.g., Gropper v. David Ellis Real Estate, L.P., No. 13-CV-2068 (ALC)
       (JCF), 2014 WL 518234, at *4 (S.D.N.Y. Feb. 10, 2014) (finding that a “request



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       for ‘any and all’ documents . . . is inherently overbroad”); Rice v. Reliastar Life
       Ins. Co., No. 11-CV-44 (BAJ) (CN), 2011 WL 5513181, at *2 (M.D. La. Nov. 10,
       2011) (finding that “a request for ‘any and all documents’ relating to a particular
       subject is overbroad and amounts to little more than a fishing expedition”); Badr
       v. Liberty Mutual Grp., Inc., No. 06-CV-1208, 2007 WL 2904210, at *3 (D.
       Conn. Sept. 28, 2007) (finding request for “any and all” documents “overly
       broad”)…

       All Defendants are reminded that, because Greer is proceeding pro se and is not
       an attorney, they should be both reasonable and pragmatic in their pursuit of
       documents in this case.”

       In addition, no such accounting documents (i.e. receipts for transportation, gasoline, and
       tolls, and proof of mileage traveled) yet exist in the possession of Plaintiff.

REQUEST No. 37:
All documents concerning any of Plaintiffs claims for damages from paralegal fees, including
but not limited to the "Paralegal fees" referenced on page 5 of the Plaintiff's Initial Disclosures.
Such documents should include, but not be limited to, invoices for paralegal time expended and
tasks undertaken, amounts charged, and proof of payment by Plaintiff.

       RESPONSE:

       Plaintiff objects to Request for Production No. 37 on the grounds that it is overly broad
       and unduly burdensome because it begins with the words, “All documents….”. In Judge
       Cott’s order from January 18th, 2017 (Dkt. No. 228), he wrote:

       “The Court observes preliminarily that all of Greer’s document requests begin
       with the phrase “[a]ll documents, communications, and correspondence which
       support, evidence, relate or otherwise pertain to . . . .” “Blanket requests of this
       kind are plainly overbroad and impermissible.” Henry v. Morgan’s Hotel Grp.,
       Inc., No. 15-CV-1789 (ER) (JLC), 2016 WL 303114, at *2 (S.D.N.Y. Jan. 25,
       2016); see, e.g., Gropper v. David Ellis Real Estate, L.P., No. 13-CV-2068 (ALC)
       (JCF), 2014 WL 518234, at *4 (S.D.N.Y. Feb. 10, 2014) (finding that a “request
       for ‘any and all’ documents . . . is inherently overbroad”); Rice v. Reliastar Life
       Ins. Co., No. 11-CV-44 (BAJ) (CN), 2011 WL 5513181, at *2 (M.D. La. Nov. 10,
       2011) (finding that “a request for ‘any and all documents’ relating to a particular
       subject is overbroad and amounts to little more than a fishing expedition”); Badr
       v. Liberty Mutual Grp., Inc., No. 06-CV-1208, 2007 WL 2904210, at *3 (D.
       Conn. Sept. 28, 2007) (finding request for “any and all” documents “overly
       broad”)…

       All Defendants are reminded that, because Greer is proceeding pro se and is not
       an attorney, they should be both reasonable and pragmatic in their pursuit of
       documents in this case.”




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REQUEST No. 38:
All documents concerning any of Plaintiff's claims for damages from attorney fees and costs,
including but not limited to the "Attorney fees and costs" referenced on page 5 of the Plaintiff's
Initial Disclosures. Such documents should include, but not be limited to, invoices for attorney
time expended and tasks undertaken, amounts charged, and proof of payment by Plaintiff.

       RESPONSE:

       No such documents yet exist.

REQUEST No. 39:
All documents concerning the allegation that "Plaintiff is a journalist," referenced at ¶20 of the
Corrected Amended Complaint.

       RESPONSE:

       Plaintiff objects to Request for Production No. 39 on the grounds that it is overly broad
       and unduly burdensome because it begins with the words, “All documents….”. In Judge
       Cott’s order from January 18th, 2017 (Dkt. No. 228), he wrote:

       “The Court observes preliminarily that all of Greer’s document requests begin
       with the phrase “[a]ll documents, communications, and correspondence which
       support, evidence, relate or otherwise pertain to . . . .” “Blanket requests of this
       kind are plainly overbroad and impermissible.” Henry v. Morgan’s Hotel Grp.,
       Inc., No. 15-CV-1789 (ER) (JLC), 2016 WL 303114, at *2 (S.D.N.Y. Jan. 25,
       2016); see, e.g., Gropper v. David Ellis Real Estate, L.P., No. 13-CV-2068 (ALC)
       (JCF), 2014 WL 518234, at *4 (S.D.N.Y. Feb. 10, 2014) (finding that a “request
       for ‘any and all’ documents . . . is inherently overbroad”); Rice v. Reliastar Life
       Ins. Co., No. 11-CV-44 (BAJ) (CN), 2011 WL 5513181, at *2 (M.D. La. Nov. 10,
       2011) (finding that “a request for ‘any and all documents’ relating to a particular
       subject is overbroad and amounts to little more than a fishing expedition”); Badr
       v. Liberty Mutual Grp., Inc., No. 06-CV-1208, 2007 WL 2904210, at *3 (D.
       Conn. Sept. 28, 2007) (finding request for “any and all” documents “overly
       broad”)…

       All Defendants are reminded that, because Greer is proceeding pro se and is not
       an attorney, they should be both reasonable and pragmatic in their pursuit of
       documents in this case.”




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       Plaintiff also objects to Request for Production No. 39 on the grounds that it is redundant
       to requests 40 and 41.

REQUEST No. 40:
All documents concerning any compensation received by Plaintiff for any work Plaintiff claims
is as a journalist.

       RESPONSE:

       Plaintiff objects to Request for Production No. 40 on the grounds that it is overly broad
       and unduly burdensome because it begins with the words, “All documents….”. In Judge
       Cott’s order from January 18th, 2017 (Dkt. No. 228), he wrote:

       “The Court observes preliminarily that all of Greer’s document requests begin
       with the phrase “[a]ll documents, communications, and correspondence which
       support, evidence, relate or otherwise pertain to . . . .” “Blanket requests of this
       kind are plainly overbroad and impermissible.” Henry v. Morgan’s Hotel Grp.,
       Inc., No. 15-CV-1789 (ER) (JLC), 2016 WL 303114, at *2 (S.D.N.Y. Jan. 25,
       2016); see, e.g., Gropper v. David Ellis Real Estate, L.P., No. 13-CV-2068 (ALC)
       (JCF), 2014 WL 518234, at *4 (S.D.N.Y. Feb. 10, 2014) (finding that a “request
       for ‘any and all’ documents . . . is inherently overbroad”); Rice v. Reliastar Life
       Ins. Co., No. 11-CV-44 (BAJ) (CN), 2011 WL 5513181, at *2 (M.D. La. Nov. 10,
       2011) (finding that “a request for ‘any and all documents’ relating to a particular
       subject is overbroad and amounts to little more than a fishing expedition”); Badr
       v. Liberty Mutual Grp., Inc., No. 06-CV-1208, 2007 WL 2904210, at *3 (D.
       Conn. Sept. 28, 2007) (finding request for “any and all” documents “overly
       broad”)…

       All Defendants are reminded that, because Greer is proceeding pro se and is not an
       attorney, they should be both reasonable and pragmatic in their pursuit of documents in
       this case.”

       Plaintiff also objects to Request for Production No. 39 on the grounds that it is redundant
       to requests 39 and 40.

REQUEST No. 41:
All published writings of Plaintiff via any media other than on the BatteryPark.TV or The
Healthcare Channel websites.

       RESPONSE:

       Plaintiff could object to Request for Production No. 41 on the grounds that it is overly
       broad and unduly burdensome because it begins with the words, “All documents….”. In
       Judge Cott’s order from January 18th, 2017 (Dkt. No. 228), he wrote:




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        “The Court observes preliminarily that all of Greer’s document requests begin
        with the phrase “[a]ll documents, communications, and correspondence which
        support, evidence, relate or otherwise pertain to . . . .” “Blanket requests of this
        kind are plainly overbroad and impermissible.” Henry v. Morgan’s Hotel Grp.,
        Inc., No. 15-CV-1789 (ER) (JLC), 2016 WL 303114, at *2 (S.D.N.Y. Jan. 25,
        2016); see, e.g., Gropper v. David Ellis Real Estate, L.P., No. 13-CV-2068 (ALC)
        (JCF), 2014 WL 518234, at *4 (S.D.N.Y. Feb. 10, 2014) (finding that a “request
        for ‘any and all’ documents . . . is inherently overbroad”); Rice v. Reliastar Life
        Ins. Co., No. 11-CV-44 (BAJ) (CN), 2011 WL 5513181, at *2 (M.D. La. Nov. 10,
        2011) (finding that “a request for ‘any and all documents’ relating to a particular
        subject is overbroad and amounts to little more than a fishing expedition”); Badr
        v. Liberty Mutual Grp., Inc., No. 06-CV-1208, 2007 WL 2904210, at *3 (D.
        Conn. Sept. 28, 2007) (finding request for “any and all” documents “overly
        broad”)…

        All Defendants are reminded that, because Greer is proceeding pro se and is not
        an attorney, they should be both reasonable and pragmatic in their pursuit of
        documents in this case.”

        However, Plaintiff will respond with his curriculum vitae:

        Books and Mainstream Publications

1.     Greer SE (Editor-in-Chief), Benhaim P, Lorenz HP, Chang J, Hedrick MH (Eds.).
     The Handbook of Plastic Surgery. New York: Marcel Dekker, 2004

2.     Greer SE. Inside ObamaCare's Grant-Making. Op-Ed in The Wall Street Journal.
     June 4, 2012

3.     Greer SE. Pork is Clogging CMMI's Arteries. Letter section in The Wall Street Journal.
     June 20, 2012


        Journal Articles Published

     1. Greer SE, Matarasso A, Wallach S, Simon G, Longaker MT: The Importance of the
        Nasal-to-Cervical Relationship to the Profile and Rhinoplasty Surgery. Plastic and
        Reconstructive Surger. 108(2):522-31; discussion 532-5. 2001

     2. Greer SE, Grossi EA, Chin D, Longaker MT. Subatmospheric Pressure Dressing for
        Closure of Saphenous Vein Donor-Site Wound Complications. Annals of Thoracic
        Surgery, 71(3):1038-1040, 2001

     3. Greer SE: A Lesson from the High Tech Economic Boom: Utilize the Competitive
        Advantage of Plastic Surgery. Plastic and Reconstructive Surgery, 107(2):598-601,
        2001




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  4. Puckett CL, Greer SE: A Lesson from the High Tech Economic Boom: Utilize the
     Competitive Advantage of Plastic Surgery. Discussion. Plastic and Reconstructive
     Surgery, 107(2):602-603, 2001

  5. Greer SE: Whither Subatmospheric Pressure Dressing? Editorial. Ann Plast Surg,
     45(3):332-4, 2000

  6. Greer SE, Matarasso A, Wallach S, Simon G, Longaker MT: The Nasal-to-Cervical
     Relationship of Rhinoplasty Surgery. Plastic Surgical Forum, 2000

  7. Greer SE, Longaker MT, Cutting C, McCarthy JG, Shaw W, Lorenz HP: The Gold
     Standard for Acceptable Resolution of Projected Digital Photographic Images in
     Plastic Surgery. Plastic Surgical Forum, 2000

  8. Greer SE, MD, Adelman M, MD, Kasabian A, MD, Galiano R, MD, Scott R, MD,
     Longaker MT, MD: The Use of Subatmospheric Pressure Dressing to Close
     Lymphocutaneous Fistulas of the Groin. Brit J Plast Surg, 53(6):484-487, 2000

  9. Matarasso A, Greer SE, Longaker MT: The True Hanging Columella: Simplified
     Diagnosis and Treatment Using a Modified Direct Approach. Plastic and
     Reconstructive Surgery, 106(2):469-474, 2000

  10. Matarasso A, Greer SE, Longaker MT: The True Hanging Columella: Simplified
      Diagnosis and Treatment Using a Modified Direct Approach. Plastic Surgical Forum,
      2000

  11. Greer SE, Longaker MT, Margiotta M: Preliminary Results from a Multicenter,
      Randomized, Controlled, Study of the Use of Subatmospheric Pressure Dressing for
      Pressure Ulcer Healing. Wound Repair and Regeneration. 7(4); 255, 1999

  12. Greer SE, Longaker MT, Margiotta M, Mathews AJ, Kasabian A: The Use of
      Subatmospheric Pressure Dressing for the Coverage of Radial Forearm Free Flap
      Donor-Site Exposed Tendon Complications. Ann Plast Surg. 43(5):551-554,
      November 1999

  13. Greer SE, Duthie E, Cartolano B, Koehler KM, Maydick-Youngberg D, Longaker MT:
      Techniques for Applying Subatmospheric Pressure Dressing to Wounds in Difficult
      Regions of Anatomy. J Wound Ostomy Continence Nurs, 26(5); 250-3, September 1999

  14. Greer SE, Kasabian A, Thorne C, Borud L, Sims CD, Hsu M: The Use of a
      Subatmospheric Pressure Dressing to Salvage a Gustilo Grade IIIB Open Tibia
      Fracture with Concomitant Osteomyelitis and Avert a Free Flap. Letter. Annals of
      Plastic Surgery , 41(6); 687, Dec 1998


REQUEST No. 42:



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All documents concerning any press pass or press credentials issued to Plaintiff.

       RESPONSE:

       Plaintiff could object to Request for Production No. 41 on the grounds that it is overly
       broad and unduly burdensome because it begins with the words, “All documents….”. In
       Judge Cott’s order from January 18th, 2017 (Dkt. No. 228), he wrote:

       “The Court observes preliminarily that all of Greer’s document requests begin
       with the phrase “[a]ll documents, communications, and correspondence which
       support, evidence, relate or otherwise pertain to . . . .” “Blanket requests of this
       kind are plainly overbroad and impermissible.” Henry v. Morgan’s Hotel Grp.,
       Inc., No. 15-CV-1789 (ER) (JLC), 2016 WL 303114, at *2 (S.D.N.Y. Jan. 25,
       2016); see, e.g., Gropper v. David Ellis Real Estate, L.P., No. 13-CV-2068 (ALC)
       (JCF), 2014 WL 518234, at *4 (S.D.N.Y. Feb. 10, 2014) (finding that a “request
       for ‘any and all’ documents . . . is inherently overbroad”); Rice v. Reliastar Life
       Ins. Co., No. 11-CV-44 (BAJ) (CN), 2011 WL 5513181, at *2 (M.D. La. Nov. 10,
       2011) (finding that “a request for ‘any and all documents’ relating to a particular
       subject is overbroad and amounts to little more than a fishing expedition”); Badr
       v. Liberty Mutual Grp., Inc., No. 06-CV-1208, 2007 WL 2904210, at *3 (D.
       Conn. Sept. 28, 2007) (finding request for “any and all” documents “overly
       broad”)…

       All Defendants are reminded that, because Greer is proceeding pro se and is not
       an attorney, they should be both reasonable and pragmatic in their pursuit of
       documents in this case.”

       However, Plaintiff will respond with the following:

       The White House press pass and security system confiscates badges as journalists leave,
       so Plaintiff has no pass badge to produce. However, the following videos are evidence of
       Plaintiff’s entrance into The West Wing.

       https://youtu.be/wPkttU1BgX0

       https://youtu.be/66ADnzrHkak

       The Ohio State University granted Plaintiff an all-stadium-access press pass for the Ohio
       State v Michigan football game

       https://youtu.be/1F9lFUZhpyg

       Plaintiff has never needed an NYPD-issued press pass for local reporting on
       BatteryPark.TV or The Healthcare Channel, otherwise.




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REQUEST No. 43:
All documents relating to Plaintiff's contention that Plaintiff's journalism has been "referenced in
"congressional testimony" [sic], as referenced in ¶21 of the Corrected Amended Complaint.

       RESPONSE:

       Plaintiff could object to Request for Production No. 41 on the grounds that it is overly
       broad and unduly burdensome because it begins with the words, “All documents….”. In
       Judge Cott’s order from January 18th, 2017 (Dkt. No. 228), he wrote:

       “The Court observes preliminarily that all of Greer’s document requests begin
       with the phrase “[a]ll documents, communications, and correspondence which
       support, evidence, relate or otherwise pertain to . . . .” “Blanket requests of this
       kind are plainly overbroad and impermissible.” Henry v. Morgan’s Hotel Grp.,
       Inc., No. 15-CV-1789 (ER) (JLC), 2016 WL 303114, at *2 (S.D.N.Y. Jan. 25,
       2016); see, e.g., Gropper v. David Ellis Real Estate, L.P., No. 13-CV-2068 (ALC)
       (JCF), 2014 WL 518234, at *4 (S.D.N.Y. Feb. 10, 2014) (finding that a “request
       for ‘any and all’ documents . . . is inherently overbroad”); Rice v. Reliastar Life
       Ins. Co., No. 11-CV-44 (BAJ) (CN), 2011 WL 5513181, at *2 (M.D. La. Nov. 10,
       2011) (finding that “a request for ‘any and all documents’ relating to a particular
       subject is overbroad and amounts to little more than a fishing expedition”); Badr
       v. Liberty Mutual Grp., Inc., No. 06-CV-1208, 2007 WL 2904210, at *3 (D.
       Conn. Sept. 28, 2007) (finding request for “any and all” documents “overly
       broad”)…

       All Defendants are reminded that, because Greer is proceeding pro se and is not
       an attorney, they should be both reasonable and pragmatic in their pursuit of
       documents in this case.”

       However, Plaintiff will respond with the following:

       Plaintiff objects to the use of “[sic]” in the request. There is nothing wrong with
       “congressional testimony”. Nevertheless, the following documents is from a House
       Committee and specifically references Plaintiff’s writing in The Wall Street Journal.




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    Press Release

      FOR IMMEDIATE RELEASE                                                        June 13, 2012
      Michelle Dimarob, Sarah Swinehart                                           (202) 226-4774

           Boustany Requests Information on ObamaCare Grant Program
                    Grant Program Operates With No Transparency or Accountability

      Washington, DC – Today, Ways and Means Subcommittee on Oversight Chairman Charles
      Boustany, Jr., MD (R-LA) requested information from the Department of Health and Human
      Services (HHS) on the Center for Medicare and Medicaid Innovation (CMMI) awarding
      $123 million in grants. Recent reports on grant making activities at CMMI reveal that
      taxpayer dollars may be going to waste. One physician who participated in the grant
      application review process wrote in a recent Wall Street Journal piece that the grant
      program is “one more pork program,” and that it operates with “few safeguards and little
      transparency.”

      Boustany stated, “The Democrats’ health care law gives CMMI $10 billion in taxpayer
      dollars every decade without a shred of transparency, accountability or congressional
      review. In fact, the law explicitly shields CMMI’s decisions from public review. We must
      hold CMMI accountable and protect hardworking taxpayers.”

      Last year, HHS announced plans to hand out $1 billion in CMMI grants. In May of this
      year, HHS announced the first round of CMMI grants, totaling $123 million to 26
      organizations and ranging from approximately $1 million to $30 million for a three-year
      period.

      The full text of the letter can be read here.

                                                       ###

                                          Ways and Means Press Office
                                         www.WaysandMeans.House.gov




       In addition, this Senate Finance Committee hearing was generated by Plaintiff’s Wall
       Street Journal reporting:

       https://youtu.be/BhL8dUAcGwc

       The two examples above are not a comprehensive list. Congressional records will reveal
       other references to Plainitff’s work. That is public information.

REQUEST No. 44:
All documents concerning e-mail subscribers to BatteryPark.TV, including but not limited to the
names and email addresses of such subscribers.




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  RESPONSE:

  Plaintiff objects to Request for Production No. 44 on the grounds that it is overly broad
  and unduly burdensome because it begins with the words, “All documents….”. In Judge
  Cott’s order from January 18th, 2017 (Dkt. No. 228), he wrote:

  “The Court observes preliminarily that all of Greer’s document requests begin
  with the phrase “[a]ll documents, communications, and correspondence which
  support, evidence, relate or otherwise pertain to . . . .” “Blanket requests of this
  kind are plainly overbroad and impermissible.” Henry v. Morgan’s Hotel Grp.,
  Inc., No. 15-CV-1789 (ER) (JLC), 2016 WL 303114, at *2 (S.D.N.Y. Jan. 25,
  2016); see, e.g., Gropper v. David Ellis Real Estate, L.P., No. 13-CV-2068 (ALC)
  (JCF), 2014 WL 518234, at *4 (S.D.N.Y. Feb. 10, 2014) (finding that a “request
  for ‘any and all’ documents . . . is inherently overbroad”); Rice v. Reliastar Life
  Ins. Co., No. 11-CV-44 (BAJ) (CN), 2011 WL 5513181, at *2 (M.D. La. Nov. 10,
  2011) (finding that “a request for ‘any and all documents’ relating to a particular
  subject is overbroad and amounts to little more than a fishing expedition”); Badr
  v. Liberty Mutual Grp., Inc., No. 06-CV-1208, 2007 WL 2904210, at *3 (D.
  Conn. Sept. 28, 2007) (finding request for “any and all” documents “overly
  broad”)…

  All Defendants are reminded that, because Greer is proceeding pro se and is not
  an attorney, they should be both reasonable and pragmatic in their pursuit of
  documents in this case.”


  Plaintiff also objects to Request for Production No. 44 on the grounds that it is
  privileged trade-secret information on raw viewership data that are only known to
  Plaintiff. The Uniform Trade Secrets Act ("UTSA") defines a trade secret as:

  •      information, including a formula, pattern, compilation, program, device,
  method, technique, or process,
  •      that derives independent economic value, actual or potential, from not
  being generally known to or readily ascertainable through appropriate means by
  other persons who might obtain economic value from its disclosure or use; and
  •      is the subject of efforts that are reasonable under the circumstances to
  maintain its secrecy.



  According to US-CERT, the principle of Principle of Least Privilege applies:
  “Every program and every user of the system should operate using the least set of
  privileges necessary to complete the job. Primarily, this principle limits the
  damage that can result from an accident or error. It also reduces the number of
  potential interactions among privileged programs to the minimum for correct
  operation, so that unintentional, unwanted, or improper uses of privilege are less
  likely to occur. “



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       Also, the Children's Online Privacy Protection Act (COPPA) (15 U.S.C. §§6501-
       6506), Telecommunications act of 1996, section 222, and the “privacy” terms of
       BatteryPark.TV prohibit the release of information about users and viewers of
       BatteryPark.TV.

       Modified in 2016, “In adopting section 222 of the Communications Act, Congress
       recognized the importance of protecting the privacy of customers using
       telecommunications networks. Section 222 requires telecommunications carriers
       to protect the confidentiality of customer proprietary information”

       The nature of this privileged information is in electronic form held by a third-
       party website tracking site and service provider database.


REQUEST No. 45:
All documents concerning the monthly number of visitors to BatteryPark.TV, including but not
limited to the monthly number of unique visitors.

       RESPONSE:

       Plaintiff objects to Request for Production No. 45 on the grounds that it is overly broad
       and unduly burdensome because it begins with the words, “All documents….”. In Judge
       Cott’s order from January 18th, 2017 (Dkt. No. 228), he wrote:

       “The Court observes preliminarily that all of Greer’s document requests begin
       with the phrase “[a]ll documents, communications, and correspondence which
       support, evidence, relate or otherwise pertain to . . . .” “Blanket requests of this
       kind are plainly overbroad and impermissible.” Henry v. Morgan’s Hotel Grp.,
       Inc., No. 15-CV-1789 (ER) (JLC), 2016 WL 303114, at *2 (S.D.N.Y. Jan. 25,
       2016); see, e.g., Gropper v. David Ellis Real Estate, L.P., No. 13-CV-2068 (ALC)
       (JCF), 2014 WL 518234, at *4 (S.D.N.Y. Feb. 10, 2014) (finding that a “request
       for ‘any and all’ documents . . . is inherently overbroad”); Rice v. Reliastar Life
       Ins. Co., No. 11-CV-44 (BAJ) (CN), 2011 WL 5513181, at *2 (M.D. La. Nov. 10,
       2011) (finding that “a request for ‘any and all documents’ relating to a particular
       subject is overbroad and amounts to little more than a fishing expedition”); Badr
       v. Liberty Mutual Grp., Inc., No. 06-CV-1208, 2007 WL 2904210, at *3 (D.
       Conn. Sept. 28, 2007) (finding request for “any and all” documents “overly
       broad”)…

       All Defendants are reminded that, because Greer is proceeding pro se and is not an
       attorney, they should be both reasonable and pragmatic in their pursuit of documents in
       this case.”




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       Plaintiff also objects to Request for Production No. 45 on the grounds that it is
       privileged trade-secret information on raw viewership data that are only known to
       Plaintiff. The Uniform Trade Secrets Act ("UTSA") defines a trade secret as:

       •      information, including a formula, pattern, compilation, program, device,
       method, technique, or process,
       •      that derives independent economic value, actual or potential, from not
       being generally known to or readily ascertainable through appropriate means by
       other persons who might obtain economic value from its disclosure or use; and
       •      is the subject of efforts that are reasonable under the circumstances to
       maintain its secrecy.

       According to US-CERT, the principle of Principle of Least Privilege applies:
       “Every program and every user of the system should operate using the least set of
       privileges necessary to complete the job. Primarily, this principle limits the
       damage that can result from an accident or error. It also reduces the number of
       potential interactions among privileged programs to the minimum for correct
       operation, so that unintentional, unwanted, or improper uses of privilege are less
       likely to occur. “

       Also, the Children's Online Privacy Protection Act (COPPA) (15 U.S.C. §§6501-
       6506), Telecommunications act of 1996, section 222, and the “privacy” terms of
       BatteryPark.TV prohibit the release of information about users and viewers of
       BatteryPark.TV.

       Modified in 2016, “In adopting section 222 of the Communications Act, Congress
       recognized the importance of protecting the privacy of customers using
       telecommunications networks. Section 222 requires telecommunications carriers
       to protect the confidentiality of customer proprietary information”

       The nature of this privileged information is in electronic form held by a third-
       party website tracking site and service provider database.




REQUEST No. 46:
All documents concerning the contention in ¶20 of the Corrected Amended Complaint that
BatteryPark.TV is "one of the most viewed local news website [sic] for Downtown Manhattan."

       RESPONSE:




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  Plaintiff objects to Request for Production No. 46 on the grounds that it is overly broad
  and unduly burdensome because it begins with the words, “All documents….”. In Judge
  Cott’s order from January 18th, 2017 (Dkt. No. 228), he wrote:

  “The Court observes preliminarily that all of Greer’s document requests begin
  with the phrase “[a]ll documents, communications, and correspondence which
  support, evidence, relate or otherwise pertain to . . . .” “Blanket requests of this
  kind are plainly overbroad and impermissible.” Henry v. Morgan’s Hotel Grp.,
  Inc., No. 15-CV-1789 (ER) (JLC), 2016 WL 303114, at *2 (S.D.N.Y. Jan. 25,
  2016); see, e.g., Gropper v. David Ellis Real Estate, L.P., No. 13-CV-2068 (ALC)
  (JCF), 2014 WL 518234, at *4 (S.D.N.Y. Feb. 10, 2014) (finding that a “request
  for ‘any and all’ documents . . . is inherently overbroad”); Rice v. Reliastar Life
  Ins. Co., No. 11-CV-44 (BAJ) (CN), 2011 WL 5513181, at *2 (M.D. La. Nov. 10,
  2011) (finding that “a request for ‘any and all documents’ relating to a particular
  subject is overbroad and amounts to little more than a fishing expedition”); Badr
  v. Liberty Mutual Grp., Inc., No. 06-CV-1208, 2007 WL 2904210, at *3 (D.
  Conn. Sept. 28, 2007) (finding request for “any and all” documents “overly
  broad”)…

  All Defendants are reminded that, because Greer is proceeding pro se and is not an
  attorney, they should be both reasonable and pragmatic in their pursuit of documents in
  this case.”

  Plaintiff also objects to Request for Production No. 46 on the grounds that it is
  privileged trade-secret information on raw viewership data that are only known to
  Plaintiff. The Uniform Trade Secrets Act ("UTSA") defines a trade secret as:

  •      information, including a formula, pattern, compilation, program, device,
  method, technique, or process,
  •      that derives independent economic value, actual or potential, from not
  being generally known to or readily ascertainable through appropriate means by
  other persons who might obtain economic value from its disclosure or use; and
  •      is the subject of efforts that are reasonable under the circumstances to
  maintain its secrecy.

  According to US-CERT, the principle of Principle of Least Privilege applies:
  “Every program and every user of the system should operate using the least set of
  privileges necessary to complete the job. Primarily, this principle limits the
  damage that can result from an accident or error. It also reduces the number of
  potential interactions among privileged programs to the minimum for correct
  operation, so that unintentional, unwanted, or improper uses of privilege are less
  likely to occur. “

  Also, the Children's Online Privacy Protection Act (COPPA) (15 U.S.C. §§6501-
  6506), Telecommunications act of 1996, section 222, and the “privacy” terms of
  BatteryPark.TV prohibit the release of information about users and viewers of
  BatteryPark.TV.



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       Modified in 2016, “In adopting section 222 of the Communications Act, Congress
       recognized the importance of protecting the privacy of customers using
       telecommunications networks. Section 222 requires telecommunications carriers
       to protect the confidentiality of customer proprietary information”

       The nature of this privileged information is in electronic form held by a third-
       party website tracking site and service provider database.

REQUEST No. 47:
All documents concerning revenue from BatteryPark.TV, including but not limited to revenue
from advertisements, subscriptions, grants, or donations.

       RESPONSE:

       Plaintiff objects to Request for Production No. 47 on the grounds that it is overly broad
       and unduly burdensome because it begins with the words, “All documents….”. In Judge
       Cott’s order from January 18th, 2017 (Dkt. No. 228), he wrote:

       “The Court observes preliminarily that all of Greer’s document requests begin
       with the phrase “[a]ll documents, communications, and correspondence which
       support, evidence, relate or otherwise pertain to . . . .” “Blanket requests of this
       kind are plainly overbroad and impermissible.” Henry v. Morgan’s Hotel Grp.,
       Inc., No. 15-CV-1789 (ER) (JLC), 2016 WL 303114, at *2 (S.D.N.Y. Jan. 25,
       2016); see, e.g., Gropper v. David Ellis Real Estate, L.P., No. 13-CV-2068 (ALC)
       (JCF), 2014 WL 518234, at *4 (S.D.N.Y. Feb. 10, 2014) (finding that a “request
       for ‘any and all’ documents . . . is inherently overbroad”); Rice v. Reliastar Life
       Ins. Co., No. 11-CV-44 (BAJ) (CN), 2011 WL 5513181, at *2 (M.D. La. Nov. 10,
       2011) (finding that “a request for ‘any and all documents’ relating to a particular
       subject is overbroad and amounts to little more than a fishing expedition”); Badr
       v. Liberty Mutual Grp., Inc., No. 06-CV-1208, 2007 WL 2904210, at *3 (D.
       Conn. Sept. 28, 2007) (finding request for “any and all” documents “overly
       broad”)…

       All Defendants are reminded that, because Greer is proceeding pro se and is not an
       attorney, they should be both reasonable and pragmatic in their pursuit of documents in
       this case.”

       Plaintiff also objects to Request for Production No. 47 on the grounds that it is
       privileged trade-secret information on raw viewership data that are only known to
       Plaintiff. The Uniform Trade Secrets Act ("UTSA") defines a trade secret as:

   •   information, including a formula, pattern, compilation, program, device, method,
       technique, or process,




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   •   that derives independent economic value, actual or potential, from not being
       generally known to or readily ascertainable through appropriate means by other
       persons who might obtain economic value from its disclosure or use; and
   •   is the subject of efforts that are reasonable under the circumstances to maintain its
       secrecy.

       Plaintiff also objects to Request for Production No. 47 on the grounds that it is not
       reasonably calculated to lead to the discovery of admissible evidence given that
       BatteryPark.TV accepts no advertising and the revenue, or lack thereof, is
       irrelevant to this case.

REQUEST No. 48:
All documents concerning The Healthcare Channel referenced in ¶116 of the Corrected
Amended Complaint.

       RESPONSE:

       Plaintiff objects to Request for Production No. 48 on the grounds that it is overly broad
       and unduly burdensome because it begins with the words, “All documents….”. In Judge
       Cott’s order from January 18th, 2017 (Dkt. No. 228), he wrote:

       “The Court observes preliminarily that all of Greer’s document requests begin
       with the phrase “[a]ll documents, communications, and correspondence which
       support, evidence, relate or otherwise pertain to . . . .” “Blanket requests of this
       kind are plainly overbroad and impermissible.” Henry v. Morgan’s Hotel Grp.,
       Inc., No. 15-CV-1789 (ER) (JLC), 2016 WL 303114, at *2 (S.D.N.Y. Jan. 25,
       2016); see, e.g., Gropper v. David Ellis Real Estate, L.P., No. 13-CV-2068 (ALC)
       (JCF), 2014 WL 518234, at *4 (S.D.N.Y. Feb. 10, 2014) (finding that a “request
       for ‘any and all’ documents . . . is inherently overbroad”); Rice v. Reliastar Life
       Ins. Co., No. 11-CV-44 (BAJ) (CN), 2011 WL 5513181, at *2 (M.D. La. Nov. 10,
       2011) (finding that “a request for ‘any and all documents’ relating to a particular
       subject is overbroad and amounts to little more than a fishing expedition”); Badr
       v. Liberty Mutual Grp., Inc., No. 06-CV-1208, 2007 WL 2904210, at *3 (D.
       Conn. Sept. 28, 2007) (finding request for “any and all” documents “overly
       broad”)…

       All Defendants are reminded that, because Greer is proceeding pro se and is not an
       attorney, they should be both reasonable and pragmatic in their pursuit of documents in
       this case.”




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REQUEST No. 49:
All documents concerning e-mail subscribers to The Healthcare Channel, including but not
limited to the names and email addresses of such subscribers.

      RESPONSE:

      Plaintiff objects to Request for Production No. 49 on the grounds that it is overly broad
      and unduly burdensome because it begins with the words, “All documents….”. In Judge
      Cott’s order from January 18th, 2017 (Dkt. No. 228), he wrote:

      “The Court observes preliminarily that all of Greer’s document requests begin
      with the phrase “[a]ll documents, communications, and correspondence which
      support, evidence, relate or otherwise pertain to . . . .” “Blanket requests of this
      kind are plainly overbroad and impermissible.” Henry v. Morgan’s Hotel Grp.,
      Inc., No. 15-CV-1789 (ER) (JLC), 2016 WL 303114, at *2 (S.D.N.Y. Jan. 25,
      2016); see, e.g., Gropper v. David Ellis Real Estate, L.P., No. 13-CV-2068 (ALC)
      (JCF), 2014 WL 518234, at *4 (S.D.N.Y. Feb. 10, 2014) (finding that a “request
      for ‘any and all’ documents . . . is inherently overbroad”); Rice v. Reliastar Life
      Ins. Co., No. 11-CV-44 (BAJ) (CN), 2011 WL 5513181, at *2 (M.D. La. Nov. 10,
      2011) (finding that “a request for ‘any and all documents’ relating to a particular
      subject is overbroad and amounts to little more than a fishing expedition”); Badr
      v. Liberty Mutual Grp., Inc., No. 06-CV-1208, 2007 WL 2904210, at *3 (D.
      Conn. Sept. 28, 2007) (finding request for “any and all” documents “overly
      broad”)…

      All Defendants are reminded that, because Greer is proceeding pro se and is not an
      attorney, they should be both reasonable and pragmatic in their pursuit of documents in
      this case.”


      Plaintiff also objects to Request for Production No. 49 on the grounds that it is
      privileged trade-secret information on raw viewership data that are only known to
      Plaintiff. The Uniform Trade Secrets Act ("UTSA") defines a trade secret as:

      •      information, including a formula, pattern, compilation, program, device,
      method, technique, or process,
      •      that derives independent economic value, actual or potential, from not
      being generally known to or readily ascertainable through appropriate means by
      other persons who might obtain economic value from its disclosure or use; and
      •      is the subject of efforts that are reasonable under the circumstances to
      maintain its secrecy.




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       According to US-CERT, the principle of Principle of Least Privilege applies:
       “Every program and every user of the system should operate using the least set of
       privileges necessary to complete the job. Primarily, this principle limits the
       damage that can result from an accident or error. It also reduces the number of
       potential interactions among privileged programs to the minimum for correct
       operation, so that unintentional, unwanted, or improper uses of privilege are less
       likely to occur. “

       Also, the Children's Online Privacy Protection Act (COPPA) (15 U.S.C. §§6501-
       6506), Telecommunications act of 1996, section 222, and the “privacy” terms of
       BatteryPark.TV prohibit the release of information about users and viewers of
       BatteryPark.TV.

       Modified in 2016, “In adopting section 222 of the Communications Act, Congress
       recognized the importance of protecting the privacy of customers using
       telecommunications networks. Section 222 requires telecommunications carriers
       to protect the confidentiality of customer proprietary information”

       The nature of this privileged information is in electronic form held by a third-
       party website tracking site and service provider database.


REQUEST No. 50:
All documents concerning the monthly number of visitors to The Healthcare Channel, including
but not limited to the monthly number of unique visitors.

       RESPONSE:

       Plaintiff objects to Request for Production No. 50 on the grounds that it is overly broad
       and unduly burdensome because it begins with the words, “All documents….”. In Judge
       Cott’s order from January 18th, 2017 (Dkt. No. 228), he wrote:

       “The Court observes preliminarily that all of Greer’s document requests begin
       with the phrase “[a]ll documents, communications, and correspondence which
       support, evidence, relate or otherwise pertain to . . . .” “Blanket requests of this
       kind are plainly overbroad and impermissible.” Henry v. Morgan’s Hotel Grp.,
       Inc., No. 15-CV-1789 (ER) (JLC), 2016 WL 303114, at *2 (S.D.N.Y. Jan. 25,
       2016); see, e.g., Gropper v. David Ellis Real Estate, L.P., No. 13-CV-2068 (ALC)
       (JCF), 2014 WL 518234, at *4 (S.D.N.Y. Feb. 10, 2014) (finding that a “request
       for ‘any and all’ documents . . . is inherently overbroad”); Rice v. Reliastar Life
       Ins. Co., No. 11-CV-44 (BAJ) (CN), 2011 WL 5513181, at *2 (M.D. La. Nov. 10,
       2011) (finding that “a request for ‘any and all documents’ relating to a particular
       subject is overbroad and amounts to little more than a fishing expedition”); Badr
       v. Liberty Mutual Grp., Inc., No. 06-CV-1208, 2007 WL 2904210, at *3 (D.




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  Conn. Sept. 28, 2007) (finding request for “any and all” documents “overly
  broad”)…

  All Defendants are reminded that, because Greer is proceeding pro se and is not an
  attorney, they should be both reasonable and pragmatic in their pursuit of documents in
  this case.”


  Plaintiff also objects to Request for Production No. 50 on the grounds that it is
  privileged trade-secret information on raw viewership data that are only known to
  Plaintiff. The Uniform Trade Secrets Act ("UTSA") defines a trade secret as:

  •      information, including a formula, pattern, compilation, program, device,
  method, technique, or process,
  •      that derives independent economic value, actual or potential, from not
  being generally known to or readily ascertainable through appropriate means by
  other persons who might obtain economic value from its disclosure or use; and
  •      is the subject of efforts that are reasonable under the circumstances to
  maintain its secrecy.

  According to US-CERT, the principle of Principle of Least Privilege applies:
  “Every program and every user of the system should operate using the least set of
  privileges necessary to complete the job. Primarily, this principle limits the
  damage that can result from an accident or error. It also reduces the number of
  potential interactions among privileged programs to the minimum for correct
  operation, so that unintentional, unwanted, or improper uses of privilege are less
  likely to occur. “

  Also, the Children's Online Privacy Protection Act (COPPA) (15 U.S.C. §§6501-
  6506), Telecommunications act of 1996, section 222, and the “privacy” terms of
  BatteryPark.TV prohibit the release of information about users and viewers of
  BatteryPark.TV.

  Modified in 2016, “In adopting section 222 of the Communications Act, Congress
  recognized the importance of protecting the privacy of customers using
  telecommunications networks. Section 222 requires telecommunications carriers
  to protect the confidentiality of customer proprietary information”

  The nature of this privileged information is in electronic form held by a third-
  party website tracking site and service provider database.




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REQUEST No. 51:
All documents concerning revenue from The Healthcare Channel, including but not limited to
revenue from advertisements, subscriptions, grants, or donations.

      RESPONSE:

      Plaintiff objects to Request for Production No. 51 on the grounds that it is overly broad
      and unduly burdensome because it begins with the words, “All documents….”. In Judge
      Cott’s order from January 18th, 2017 (Dkt. No. 228), he wrote:

      “The Court observes preliminarily that all of Greer’s document requests begin
      with the phrase “[a]ll documents, communications, and correspondence which
      support, evidence, relate or otherwise pertain to . . . .” “Blanket requests of this
      kind are plainly overbroad and impermissible.” Henry v. Morgan’s Hotel Grp.,
      Inc., No. 15-CV-1789 (ER) (JLC), 2016 WL 303114, at *2 (S.D.N.Y. Jan. 25,
      2016); see, e.g., Gropper v. David Ellis Real Estate, L.P., No. 13-CV-2068 (ALC)
      (JCF), 2014 WL 518234, at *4 (S.D.N.Y. Feb. 10, 2014) (finding that a “request
      for ‘any and all’ documents . . . is inherently overbroad”); Rice v. Reliastar Life
      Ins. Co., No. 11-CV-44 (BAJ) (CN), 2011 WL 5513181, at *2 (M.D. La. Nov. 10,
      2011) (finding that “a request for ‘any and all documents’ relating to a particular
      subject is overbroad and amounts to little more than a fishing expedition”); Badr
      v. Liberty Mutual Grp., Inc., No. 06-CV-1208, 2007 WL 2904210, at *3 (D.
      Conn. Sept. 28, 2007) (finding request for “any and all” documents “overly
      broad”)…

      All Defendants are reminded that, because Greer is proceeding pro se and is not an
      attorney, they should be both reasonable and pragmatic in their pursuit of documents in
      this case.”


      Plaintiff also objects to Request for Production No. 51 on the grounds that it is
      privileged trade-secret information on raw viewership data that are only known to
      Plaintiff. The Uniform Trade Secrets Act ("UTSA") defines a trade secret as:

      •      information, including a formula, pattern, compilation, program, device,
      method, technique, or process,
      •      that derives independent economic value, actual or potential, from not
      being generally known to or readily ascertainable through appropriate means by
      other persons who might obtain economic value from its disclosure or use; and
      •      is the subject of efforts that are reasonable under the circumstances to
      maintain its secrecy.




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       According to US-CERT, the principle of Principle of Least Privilege applies:
       “Every program and every user of the system should operate using the least set of
       privileges necessary to complete the job. Primarily, this principle limits the
       damage that can result from an accident or error. It also reduces the number of
       potential interactions among privileged programs to the minimum for correct
       operation, so that unintentional, unwanted, or improper uses of privilege are less
       likely to occur. “

       Also, the Children's Online Privacy Protection Act (COPPA) (15 U.S.C. §§6501-
       6506), Telecommunications act of 1996, section 222, and the “privacy” terms of
       BatteryPark.TV prohibit the release of information about users and viewers of
       BatteryPark.TV.

       Modified in 2016, “In adopting section 222 of the Communications Act, Congress
       recognized the importance of protecting the privacy of customers using
       telecommunications networks. Section 222 requires telecommunications carriers
       to protect the confidentiality of customer proprietary information”

       Plaintiff also objects because revenue of the business of The Healthcare Channel
       is irrelevant to the damages calculus and not likely to lead to admissible evidence.

       The nature of this privileged information is in electronic form held by a third-
       party website tracking site and service provider database.


REQUEST No. 52:
All medical textbooks written by Plaintiff as referenced in ¶18-19 of the Corrected Amended
Complaint.

       RESPONSE:

       Greer SE (Editor-in-Chief), Benhaim P, Lorenz HP, Chang J, Hedrick MH (Eds.).
       The Handbook of Plastic Surgery. New York: Marcel Dekker, 2004

REQUEST No. 53:
All "peer-review research papers" written by Plaintiff as referenced in ¶18 of the Corrected
Amended Complaint.

       RESPONSE:

   15. Greer SE, Matarasso A, Wallach S, Simon G, Longaker MT: The Importance of the
       Nasal-to-Cervical Relationship to the Profile and Rhinoplasty Surgery. Plastic and
       Reconstructive Surger. 108(2):522-31; discussion 532-5. 2001




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16. Greer SE, Grossi EA, Chin D, Longaker MT. Subatmospheric Pressure Dressing for
    Closure of Saphenous Vein Donor-Site Wound Complications. Annals of Thoracic
    Surgery, 71(3):1038-1040, 2001

17. Greer SE: A Lesson from the High Tech Economic Boom: Utilize the Competitive
    Advantage of Plastic Surgery. Plastic and Reconstructive Surgery, 107(2):598-601,
    2001

18. Puckett CL, Greer SE: A Lesson from the High Tech Economic Boom: Utilize the
    Competitive Advantage of Plastic Surgery. Discussion. Plastic and Reconstructive
    Surgery, 107(2):602-603, 2001

19. Greer SE: Whither Subatmospheric Pressure Dressing? Editorial. Ann Plast Surg,
    45(3):332-4, 2000

20. Greer SE, Matarasso A, Wallach S, Simon G, Longaker MT: The Nasal-to-Cervical
    Relationship of Rhinoplasty Surgery. Plastic Surgical Forum, 2000

21. Greer SE, Longaker MT, Cutting C, McCarthy JG, Shaw W, Lorenz HP: The Gold
    Standard for Acceptable Resolution of Projected Digital Photographic Images in
    Plastic Surgery. Plastic Surgical Forum, 2000

22. Greer SE, MD, Adelman M, MD, Kasabian A, MD, Galiano R, MD, Scott R, MD,
    Longaker MT, MD: The Use of Subatmospheric Pressure Dressing to Close
    Lymphocutaneous Fistulas of the Groin. Brit J Plast Surg, 53(6):484-487, 2000

23. Matarasso A, Greer SE, Longaker MT: The True Hanging Columella: Simplified
    Diagnosis and Treatment Using a Modified Direct Approach. Plastic and
    Reconstructive Surgery, 106(2):469-474, 2000

24. Matarasso A, Greer SE, Longaker MT: The True Hanging Columella: Simplified
    Diagnosis and Treatment Using a Modified Direct Approach. Plastic Surgical Forum,
    2000

25. Greer SE, Longaker MT, Margiotta M: Preliminary Results from a Multicenter,
    Randomized, Controlled, Study of the Use of Subatmospheric Pressure Dressing for
    Pressure Ulcer Healing. Wound Repair and Regeneration. 7(4); 255, 1999

26. Greer SE, Longaker MT, Margiotta M, Mathews AJ, Kasabian A: The Use of
    Subatmospheric Pressure Dressing for the Coverage of Radial Forearm Free Flap
    Donor-Site Exposed Tendon Complications. Ann Plast Surg. 43(5):551-554,
    November 1999

27. Greer SE, Duthie E, Cartolano B, Koehler KM, Maydick-Youngberg D, Longaker MT:
    Techniques for Applying Subatmospheric Pressure Dressing to Wounds in Difficult
    Regions of Anatomy. J Wound Ostomy Continence Nurs, 26(5); 250-3, September 1999




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   28. Greer SE, Kasabian A, Thorne C, Borud L, Sims CD, Hsu M: The Use of a
       Subatmospheric Pressure Dressing to Salvage a Gustilo Grade IIIB Open Tibia
       Fracture with Concomitant Osteomyelitis and Avert a Free Flap. Letter. Annals of
       Plastic Surgery , 41(6); 687, Dec 1998


REQUEST No. 54:
Documents concerning any "prestigious federal research grants to conduct clinical trials"
awarded to Plaintiff, as referenced in ¶¶18-19 of the Corrected Amended Complaint.

      RESPONSE:

   1. B2108RC/VA Merit Review Grant, 10/01/99-10/01/2001 awarded $408,280:
      Investigation of Subatmospheric Pressure Dressing on Pressure Ulcer Healing.

   2. NCRR M01 RR00096, 6/21/99-6/20/2000 Controlled Study of Subatmospheric
      Pressure Dressing on Below-Knee Amputation Wounds. The NIH-funded General
      Clinical Research Center, physically located at Bellevue but a distinct entity, accepted the
      application for the study listed above to be conducted at their facility.

   3. NCRR M01 RR00096, 6/21/99-6/20/2000: Application of Outcome Data to Pressure
      Ulcer Healing. The NIH-funded General Clinical Research Center, physically located at
      Bellevue Hospital but a distinct entity, accepted the application for the study listed above
      to be conducted at their facility.

   4. Private Industry Grant, KCI inc., 10/31/98-10/31/99 awarded $64,000, 1998: A
      Controlled Study Comparing the Effectiveness of Subatmospheric Pressure
      Dressing to Normal Saline Wet-To-Moist Dressing on Pressure Ulcers

REQUEST No. 55:
Documents concerning any "strenuous background checks, fingerprinting, and extensive state
and federal testing" undergone by Plaintiff, as referenced in ¶18 of the Corrected Amended
Complaint.

      RESPONSE:

      Plaintiff objects to Request for Production No. 55 on the grounds that it is public
      knowledge and easily available from the New York State Department of Education
      medical licensing division, FINRA and the Series 7 exam website, and the TSA “known
      traveler number”, which requires a background check with fingerprints.

REQUEST No. 56:




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Documents concerning requests by "medical directors of large New York long-term care
facilities" that Plaintiff "speak at grand rounds to educate their staff," as referenced in ¶19 of the
Corrected Amended Complaint.

       RESPONSE:

       Greer SE: Subatmospheric Pressure Dressing: Clinical Applications and Research
       Opportunities. Presented at the Grand Rounds for the Division of Plastic Surgery, Yale
       University, New Haven, CT, April 15, 1999

       In addition, Plaintiff has presented to numerous other Grand Rounds at The NYU
       Medical Center and Bellevue Medical center.

REQUEST No. 57:
Documents concerning Plaintiffs alleged participation in "oversight activities assisting the U.S.
Senate and House investigate waste and fraud in medicine," and in the passage of the Physicians
Payments Sunshine Act, as referenced in ¶21 of the Corrected Amended Complaint.

       RESPONSE:

       Plaintiff was the whistleblower who caused the following senate investigation. Emails
       between Plaintiff and senate staffers are confidential:

                                United States Senate
                                           Washington, D.C.

       For Immediate Release
       Thursday, October 16, 2008

          Grassley, Kohl seek information about money going from medical device makers to
                                              doctors

               WASHINGTON – Senators Chuck Grassley and Herb Kohl are continuing their
       campaign to shed light on financial relationships between the pharmaceutical and medical
       device industries and medical doctors.

               Today the senators sent letters asking for detailed information about industry
       dollars going to research physicians affiliated with Columbia University and to the
       Cardiovascular Research Foundation.

               The inquiry responds to information about the Cardiovascular Research
       Foundation’s support for an annual conference promoting cardiac devices and techniques
       and additional financial relationships between professors of medicine and cardiac devices
       companies featured at this conference. The text of the senators’ letters is below this news
       release.




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              Last fall, Grassley and Kohl introduced S.2029, the Physician Payments Sunshine
       Act, which would require companies that make pharmaceuticals, medical device and
       biologics to disclose payments they make to physicians. The information would be made
       publicly available online by the U.S. Department of Health and Human Services.
       Congress has not yet taken up this reform legislation.

               Both Grassley and Kohl have conducted oversight of the financial relationships
       between doctors and industry. Kohl has chaired hearings of the Senate Special
       Committee on Aging and continues to pursue an ongoing investigation of such
       relationships, having recently sought information from the American College of
       Cardiology. Grassley has conducted an extensive review of industry payments to leading
       research doctors and called on the National Institutes of Health to fully exercise its
       authority to achieve disclosure of financial relationships between industry and the doctors
       who conduct $24 billion each year in federally sponsored medical research.

REQUEST No. 58:
All op-ed articles written by Plaintiff as referenced in ¶20 of the Corrected Amended Complaint,
including but not limited to articles published in The Wall Street Journal.

       RESPONSE:

       Greer SE. Inside ObamaCare's Grant-Making. Op-Ed in The Wall Street Journal.
       June 4, 2012

       Greer SE. Pork is Clogging CMMI's Arteries. Letter section in The Wall Street Journal.
       June 20, 2012


REQUEST No. 59:
All documents concerning the "rare sale[] that Milstein has ever made of the original rental
apartments set aside in the 1980's was a sale to a BPCA board member, Robert Mueller, at
below-market-rate [sic]," as referenced in ¶32 of the Corrected Amended Complaint.

       RESPONSE:

       Plaintiff has no such documents. However, they are in the possession of the BPCA
       defendants.

       Plaintiff objects to the use of “[sic]” in the request. There is nothing incorrect about
       “below-market-rate”




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REQUEST No. 60:
All documents concerning the contention in ¶44 of the Corrected Amended Complaint that
"Defendant Milford had schemed to sabotage street safety measures planned by the City DOT[.]"

       RESPONSE:

       Plaintiff could object to this due to the fishing expedition wording, but will reply.

       Email from Plaintiff to real estate defendants

       From: BatteryPark.TV [mailto:steve@batterypark.tv]
       Sent: Wednesday, June 25, 2014 9:46 PM
       To: Steve Rossi (srossi@libertyresidences.com); Gus Superintendant
       (gouranitsas@milfordmgmt.com); drankin@milfordmgmt.com
       Cc: 'Jeff Bodoff'; 'jleung@dot.nyc.gov'; 'squinn@dot.nyc.gov'
       Subject: Harassing me

       Cease and desist

       The sign you have posted on the rear entrance, notifying people about the impending
       DOT changes, is clearly meant to rile up the tenants and make a last ditch effort to sway
       the DOT to stop this. Gus and Milford Management staff, as well as Lucy Kuhn, went
       before the CB1 last October to oppose these changes on West Thames, and simply are not
       accepting defeat.

       Moreover, this is a blatant attempt to harass me by saying "See what that Greer is
       doing?". The doorman said that people are getting upset by the sign.

       The DOT did not tell you to place this sign. I doubt that it is even a real DOT sign.

       Remove it at once. You are violating the Tenant Protection Act by harassing me.

       CC NYPD



       This YouTube of Real Estate defendant employee Gus Ouranitsas sent to attend a
       Community Board 1 meeting to oppose the DOT plans:
       https://youtu.be/FLL6iEiD5MU


       Plaintiff’s story in BatteryPark.TV detailing the sabatoge:
       http://batterypark.tv/neighborhoods/bpca/special-interest-of-car-parking-prioritized-over-
       street-safety-at-school-crossing.html




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REQUEST No. 61:
All documents concerning Plaintiff's payment of rent for the Apartment in a timely or late
manner, including but not limited to receipts and notices of late payment.

       RESPONSE:

       Plaintiff objects to Request for Production No. 61 on the grounds that it is overly broad
       and unduly burdensome because it begins with the words, “All documents….”. In Judge
       Cott’s order from January 18th, 2017 (Dkt. No. 228), he wrote:

       “The Court observes preliminarily that all of Greer’s document requests begin
       with the phrase “[a]ll documents, communications, and correspondence which
       support, evidence, relate or otherwise pertain to . . . .” “Blanket requests of this
       kind are plainly overbroad and impermissible.” Henry v. Morgan’s Hotel Grp.,
       Inc., No. 15-CV-1789 (ER) (JLC), 2016 WL 303114, at *2 (S.D.N.Y. Jan. 25,
       2016); see, e.g., Gropper v. David Ellis Real Estate, L.P., No. 13-CV-2068 (ALC)
       (JCF), 2014 WL 518234, at *4 (S.D.N.Y. Feb. 10, 2014) (finding that a “request
       for ‘any and all’ documents . . . is inherently overbroad”); Rice v. Reliastar Life
       Ins. Co., No. 11-CV-44 (BAJ) (CN), 2011 WL 5513181, at *2 (M.D. La. Nov. 10,
       2011) (finding that “a request for ‘any and all documents’ relating to a particular
       subject is overbroad and amounts to little more than a fishing expedition”); Badr
       v. Liberty Mutual Grp., Inc., No. 06-CV-1208, 2007 WL 2904210, at *3 (D.
       Conn. Sept. 28, 2007) (finding request for “any and all” documents “overly
       broad”)…

       All Defendants are reminded that, because Greer is proceeding pro se and is not an
       attorney, they should be both reasonable and pragmatic in their pursuit of documents in
       this case.”

       Plaintiff objects to Request for Production No. 61 on the grounds that it is overly broad,
       unduly burdensome, seeks privileged and confidential materials, and is not reasonably
       calculated to lead to the discovery of admissible evidence.

       Plaintiff also objects because the key evidence in the form of documents, such as check
       images, are in the possession of the BPCA lawyers and real estate lawyers. There is a
       considerable expense for Plaintiff to retrieve these images from the bank.

REQUEST No. 62:
All documents concerning the contention in ¶55 of the Corrected Amended Complaint that
"Plaintiff's reporting has alerted several state and federal agencies about wrongdoing by Mr.
Mehiel's BPCA, and various levels of investigation are underway."




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       RESPONSE:

       Plaintiff objects to Request for Production No. 62 on the grounds that it is overly broad
       and unduly burdensome because it begins with the words, “All documents….”. In Judge
       Cott’s order from January 18th, 2017 (Dkt. No. 228), he wrote:

       “The Court observes preliminarily that all of Greer’s document requests begin
       with the phrase “[a]ll documents, communications, and correspondence which
       support, evidence, relate or otherwise pertain to . . . .” “Blanket requests of this
       kind are plainly overbroad and impermissible.” Henry v. Morgan’s Hotel Grp.,
       Inc., No. 15-CV-1789 (ER) (JLC), 2016 WL 303114, at *2 (S.D.N.Y. Jan. 25,
       2016); see, e.g., Gropper v. David Ellis Real Estate, L.P., No. 13-CV-2068 (ALC)
       (JCF), 2014 WL 518234, at *4 (S.D.N.Y. Feb. 10, 2014) (finding that a “request
       for ‘any and all’ documents . . . is inherently overbroad”); Rice v. Reliastar Life
       Ins. Co., No. 11-CV-44 (BAJ) (CN), 2011 WL 5513181, at *2 (M.D. La. Nov. 10,
       2011) (finding that “a request for ‘any and all documents’ relating to a particular
       subject is overbroad and amounts to little more than a fishing expedition”); Badr
       v. Liberty Mutual Grp., Inc., No. 06-CV-1208, 2007 WL 2904210, at *3 (D.
       Conn. Sept. 28, 2007) (finding request for “any and all” documents “overly
       broad”)…

       All Defendants are reminded that, because Greer is proceeding pro se and is not an
       attorney, they should be both reasonable and pragmatic in their pursuit of documents in
       this case.”

       Plaintiff also objects to Request for Production No. 62 on the grounds that it seeks
       privileged documents relating to ongoing criminal investigations at the city, state, and
       federal level that might lead to future litigation by Plaintiff. The nature of the documents
       are electronic website complaint forms and scanned letters ailed to prosecuting
       authorities.

REQUEST No. 63:
All documents concerning the "Friends of BPC" organization referred to in ¶30 of the Corrected
Amended Complaint, including but not limited to organizational documents, meeting minutes,
schedules or programs or initiatives or events, and membership lists of "Friends of BPC."

       RESPONSE:

       Plaintiff objects to Request for Production No. 63 on the grounds that it is overly broad
       and unduly burdensome because it begins with the words, “All documents….”. In Judge
       Cott’s order from January 18th, 2017 (Dkt. No. 228), he wrote:

       “The Court observes preliminarily that all of Greer’s document requests begin
       with the phrase “[a]ll documents, communications, and correspondence which
       support, evidence, relate or otherwise pertain to . . . .” “Blanket requests of this
       kind are plainly overbroad and impermissible.” Henry v. Morgan’s Hotel Grp.,



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       Inc., No. 15-CV-1789 (ER) (JLC), 2016 WL 303114, at *2 (S.D.N.Y. Jan. 25,
       2016); see, e.g., Gropper v. David Ellis Real Estate, L.P., No. 13-CV-2068 (ALC)
       (JCF), 2014 WL 518234, at *4 (S.D.N.Y. Feb. 10, 2014) (finding that a “request
       for ‘any and all’ documents . . . is inherently overbroad”); Rice v. Reliastar Life
       Ins. Co., No. 11-CV-44 (BAJ) (CN), 2011 WL 5513181, at *2 (M.D. La. Nov. 10,
       2011) (finding that “a request for ‘any and all documents’ relating to a particular
       subject is overbroad and amounts to little more than a fishing expedition”); Badr
       v. Liberty Mutual Grp., Inc., No. 06-CV-1208, 2007 WL 2904210, at *3 (D.
       Conn. Sept. 28, 2007) (finding request for “any and all” documents “overly
       broad”)…

       All Defendants are reminded that, because Greer is proceeding pro se and is not an
       attorney, they should be both reasonable and pragmatic in their pursuit of documents in
       this case.”

       Plaintiff objects to Request for Production No. 63 on the grounds that it not reasonably
       calculated to lead to the discovery of admissible evidence given that the Fair Housing Act
       claims have been dismissed.

REQUEST No. 64:
All documents concerning complaint(s) lodged against Plaintiff, and/or discipline proposed or
taken with respect to Plaintiff, during the past 10 years.

       RESPONSE:

       Plaintiff objects to Request for Production No. 64 on the grounds that it simply makes no
       sense. Complaints by whom are they asking?

       Plaintiff also objects to Request for Production No. 64 on the grounds that it is overly
       broad and unduly burdensome because it begins with the words, “All documents….”. In
       Judge Cott’s order from January 18th, 2017 (Dkt. No. 228), he wrote:

       “The Court observes preliminarily that all of Greer’s document requests begin
       with the phrase “[a]ll documents, communications, and correspondence which
       support, evidence, relate or otherwise pertain to . . . .” “Blanket requests of this
       kind are plainly overbroad and impermissible.” Henry v. Morgan’s Hotel Grp.,
       Inc., No. 15-CV-1789 (ER) (JLC), 2016 WL 303114, at *2 (S.D.N.Y. Jan. 25,
       2016); see, e.g., Gropper v. David Ellis Real Estate, L.P., No. 13-CV-2068 (ALC)
       (JCF), 2014 WL 518234, at *4 (S.D.N.Y. Feb. 10, 2014) (finding that a “request
       for ‘any and all’ documents . . . is inherently overbroad”); Rice v. Reliastar Life
       Ins. Co., No. 11-CV-44 (BAJ) (CN), 2011 WL 5513181, at *2 (M.D. La. Nov. 10,
       2011) (finding that “a request for ‘any and all documents’ relating to a particular
       subject is overbroad and amounts to little more than a fishing expedition”); Badr
       v. Liberty Mutual Grp., Inc., No. 06-CV-1208, 2007 WL 2904210, at *3 (D.




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       Conn. Sept. 28, 2007) (finding request for “any and all” documents “overly
       broad”)…

       All Defendants are reminded that, because Greer is proceeding pro se and is not an
       attorney, they should be both reasonable and pragmatic in their pursuit of documents in
       this case.”

REQUEST No. 65:
All documents concerning the "agreement between building management and building staff] to
not talk to Plaintiff about details of the business of the building," which agreement Plaintiff
stated "will be produced during discovery," as referred to in ¶106 of the Corrected Amended
Complaint.

       RESPONSE:

       Plaintiff has no such documents. However, they do exist in the possession of the real
       estate defendants.

REQUEST No. 66:
All documents concerning any complaint(s) lodged against Plaintiff by the staff or former staff
of the building at 200 Rector Place, NY, NY, including but not limited to those referred to in
¶107 of the Corrected Amended Complaint.

       RESPONSE:

       Plaintiff has no such documents. In Plaintiff’s investigation into the matter, no one who
       works for the real estate defendants seemed to know of any such documents. Only lawyer
       Riegel referenced them.

REQUEST No. 67:
All documents concerning any complaint(s) lodged against Plaintiff by residents or former
residents of the building at 200 Rector Place, NY, NY.

       RESPONSE:

       No such documents exist to Plaintiff’s knowledge.

REQUEST No. 68:
All documents relating to Plaintiff's medical licensing, including but not limited to all
applications for licensing, applications for renewals, and all licenses received.

       RESPONSE:



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       Plaintiff objects to Request for Production No. 68 on the grounds that it is overly broad
       and unduly burdensome because it begins with the words, “All documents….”. In Judge
       Cott’s order from January 18th, 2017 (Dkt. No. 228), he wrote:

       “The Court observes preliminarily that all of Greer’s document requests begin
       with the phrase “[a]ll documents, communications, and correspondence which
       support, evidence, relate or otherwise pertain to . . . .” “Blanket requests of this
       kind are plainly overbroad and impermissible.” Henry v. Morgan’s Hotel Grp.,
       Inc., No. 15-CV-1789 (ER) (JLC), 2016 WL 303114, at *2 (S.D.N.Y. Jan. 25,
       2016); see, e.g., Gropper v. David Ellis Real Estate, L.P., No. 13-CV-2068 (ALC)
       (JCF), 2014 WL 518234, at *4 (S.D.N.Y. Feb. 10, 2014) (finding that a “request
       for ‘any and all’ documents . . . is inherently overbroad”); Rice v. Reliastar Life
       Ins. Co., No. 11-CV-44 (BAJ) (CN), 2011 WL 5513181, at *2 (M.D. La. Nov. 10,
       2011) (finding that “a request for ‘any and all documents’ relating to a particular
       subject is overbroad and amounts to little more than a fishing expedition”); Badr
       v. Liberty Mutual Grp., Inc., No. 06-CV-1208, 2007 WL 2904210, at *3 (D.
       Conn. Sept. 28, 2007) (finding request for “any and all” documents “overly
       broad”)…

       All Defendants are reminded that, because Greer is proceeding pro se and is not an
       attorney, they should be both reasonable and pragmatic in their pursuit of documents in
       this case.”

       Plaintiff objects on the grounds that this is public information as well as irrelevant and
       not likely to lead to the discovery of admissible evidence.

REQUEST No. 69:
All documents reflecting Plaintiff's first license to practice medicine.

       RESPONSE:

       Plaintiff objects to Request for Production No. 69 on the grounds that it is overly broad
       and unduly burdensome because it begins with the words, “All documents….”. In Judge
       Cott’s order from January 18th, 2017 (Dkt. No. 228), he wrote:

       “The Court observes preliminarily that all of Greer’s document requests begin
       with the phrase “[a]ll documents, communications, and correspondence which
       support, evidence, relate or otherwise pertain to . . . .” “Blanket requests of this
       kind are plainly overbroad and impermissible.” Henry v. Morgan’s Hotel Grp.,
       Inc., No. 15-CV-1789 (ER) (JLC), 2016 WL 303114, at *2 (S.D.N.Y. Jan. 25,
       2016); see, e.g., Gropper v. David Ellis Real Estate, L.P., No. 13-CV-2068 (ALC)
       (JCF), 2014 WL 518234, at *4 (S.D.N.Y. Feb. 10, 2014) (finding that a “request
       for ‘any and all’ documents . . . is inherently overbroad”); Rice v. Reliastar Life
       Ins. Co., No. 11-CV-44 (BAJ) (CN), 2011 WL 5513181, at *2 (M.D. La. Nov. 10,




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       2011) (finding that “a request for ‘any and all documents’ relating to a particular
       subject is overbroad and amounts to little more than a fishing expedition”); Badr
       v. Liberty Mutual Grp., Inc., No. 06-CV-1208, 2007 WL 2904210, at *3 (D.
       Conn. Sept. 28, 2007) (finding request for “any and all” documents “overly
       broad”)…

       All Defendants are reminded that, because Greer is proceeding pro se and is not an
       attorney, they should be both reasonable and pragmatic in their pursuit of documents in
       this case.”

       Plaintiff objects on the grounds that this is public information as well as irrelevant and
       not likely to lead to the discovery of admissible evidence.

REQUEST No. 70:
All documents concerning whether Plaintiff is currently licensed to practice medicine.

       RESPONSE:

       Plaintiff objects to Request for Production No. 70 on the grounds that it is overly broad
       and unduly burdensome because it begins with the words, “All documents….”. In Judge
       Cott’s order from January 18th, 2017 (Dkt. No. 228), he wrote:

       “The Court observes preliminarily that all of Greer’s document requests begin
       with the phrase “[a]ll documents, communications, and correspondence which
       support, evidence, relate or otherwise pertain to . . . .” “Blanket requests of this
       kind are plainly overbroad and impermissible.” Henry v. Morgan’s Hotel Grp.,
       Inc., No. 15-CV-1789 (ER) (JLC), 2016 WL 303114, at *2 (S.D.N.Y. Jan. 25,
       2016); see, e.g., Gropper v. David Ellis Real Estate, L.P., No. 13-CV-2068 (ALC)
       (JCF), 2014 WL 518234, at *4 (S.D.N.Y. Feb. 10, 2014) (finding that a “request
       for ‘any and all’ documents . . . is inherently overbroad”); Rice v. Reliastar Life
       Ins. Co., No. 11-CV-44 (BAJ) (CN), 2011 WL 5513181, at *2 (M.D. La. Nov. 10,
       2011) (finding that “a request for ‘any and all documents’ relating to a particular
       subject is overbroad and amounts to little more than a fishing expedition”); Badr
       v. Liberty Mutual Grp., Inc., No. 06-CV-1208, 2007 WL 2904210, at *3 (D.
       Conn. Sept. 28, 2007) (finding request for “any and all” documents “overly
       broad”)…

       All Defendants are reminded that, because Greer is proceeding pro se and is not an
       attorney, they should be both reasonable and pragmatic in their pursuit of documents in
       this case.”

       Plaintiff objects on the grounds that this is public information as well as irrelevant and
       not likely to lead to the discovery of admissible evidence.




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REQUEST No. 71:
All documents concerning whether Plaintiff's license to practice medicine has ever been revoked,
suspended or terminated.

       RESPONSE:

       No such documents exist.

REQUEST No. 72:
All documents concerning any professional complaint(s) lodged against Plaintiff, and/or
professional discipline considered, proposed or taken with respect to Plaintiff, including
reprimand, censure, sanction, revocation of a license, or any other punishment or penalty.

       RESPONSE:

       No such documents exist.

REQUEST No. 73:
Unredacted and unedited versions of all documents attached to the Corrected Amended
Complaint.

       RESPONSE:

       Plaintiff objects to Request for Production No. 73 on the grounds that it is overly broad,
       unduly burdensome, is public record or in the possession of the defendants, and is not
       reasonably calculated to lead to the discovery of admissible evidence.


Dated: New York, New York
February 1, 2017
                                             Sincerely

                                             _____________________________
                                             STEVEN GREER
                                             4674 Tatersall Court
                                             Columbus, Ohio 43230
                                             (212) 945-7252
                                             Steve@batterypark.tv


To: The BPCA defendants’ lawyers of Sher Tremonte LLP and the real estate lawyers of
Rosenberg & Estis P.C.




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